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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:franktowncitizenscoalitionii,incvindependencewaterandsanitationdistrictno23sa1542025co5february10,2025"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2025 CO 5&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Concerning the Application for Amendment of an Augmentation Plan of Independence Water and Sanitation District in Elbert County.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Franktown Citizens Coalition II, Inc.&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;West Elbert County Well Users Association, Opposers&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellants&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Independence Water and Sanitation District&lt;/span&gt;, &lt;span class="ldml-role"&gt;Applicant&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;&lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt; Engineer&lt;/span&gt;. &lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-party"&gt;Pursuant to C.A.R. 1(e)&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SA154&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 10, 2025&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="447" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="447" data-sentence-id="459" class="ldml-sentence"&gt;Appeal
 from &lt;span class="ldml-entity"&gt;the District Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;District Court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_459" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;Water Division 1&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;Case No. 19CW3220&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable Todd L. Taylor&lt;/span&gt;, Water Judge&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="582" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="582" data-sentence-id="595" class="ldml-sentence"&gt;Attorneys for Opposers-&lt;span class="ldml-entity"&gt;Appellants&lt;/span&gt;: Monson, &lt;span class="ldml-entity"&gt;Cummins, Shohet
 &amp; Farr, LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;David M. Shohet&lt;/span&gt; Colorado Springs, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="2" data-page_type="bare_number" data-id="pagenumber_710"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="710" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="710" data-sentence-id="723" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-role"&gt;Applicant&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Hayes Poznanovic Korver LLC&lt;/span&gt;
&lt;span class="ldml-entity"&gt;David S. Hayes&lt;/span&gt; &lt;span class="ldml-entity"&gt;Matthew S. Poznanovic&lt;/span&gt; &lt;span class="ldml-entity"&gt;Eric K. Trout
 &lt;em class="ldml-emphasis"&gt;Denver&lt;/em&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;, Colorado&lt;/em&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="854" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="854" data-sentence-id="866" class="ldml-sentence"&gt;No
 appearance on behalf of: &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_866" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Engineer.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="916" class="ldml-paragraph "&gt;
 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (MARQUEZ, BOATRIGHT, HOOD, HART, SAMOUR, BERKENKOTTER, MÁRQUEZ)"&gt;&lt;span data-paragraph-id="916" data-sentence-id="928" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF
 JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;, JUSTICE
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="3" data-page_type="bare_number" data-id="pagenumber_1094"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1094" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="1094" data-sentence-id="1107" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt; CHIEF JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1129" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1129" data-sentence-id="1140" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1140" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Independence Water and Sanitation District&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Independence&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, a quasimunicipal special
 district, intends to provide water services to a proposed
 920-home residential development located on a 1,012-acre
 property in &lt;span class="ldml-entity"&gt;Elbert County&lt;/span&gt;, Colorado &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"Subject
 Property"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="1410" class="ldml-sentence"&gt;To do so, it will withdraw groundwater
 underlying the Subject Property from the Denver
 Basin&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; pursuant to a &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; decree.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="1534" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See
 generally&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1410" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;In re Application for Water Rts. &amp;an
 Augmentation Plan of Grant Bentley in Elbert Cnty.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No.
 06CW59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1410" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Dist. Ct., Water&lt;/span&gt; &lt;span class="ldml-cite"&gt;Div. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Sept. 5, 2006&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Findings of
 Fact, Conclusions of Law, Ruling of the Referee, Judgment and
 Decree, in the Nontributary Lower Dawson, Denver, Arapahoe,
 and &lt;span class="ldml-entity"&gt;Laramie-Fox Hills&lt;/span&gt; and the Not Nontributary Upper Dawson
 Aquifers)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="1918" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree
 established the amounts of nontributary and not-nontributary
 groundwater&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="4" data-page_type="bare_number" data-id="pagenumber_2011"&gt;&lt;/span&gt;
 available for withdrawal from the Denver Basin's four
 aquifers and identified a host of uses for the water.&lt;/span&gt;
&lt;span data-paragraph-id="1129" data-sentence-id="2122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1918" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="2132" class="ldml-sentence"&gt;It also approved an augmentation plan
 permitting the use of a portion of the decreed
 not-nontributary groundwater from the Upper Dawson aquifer
 for two of those uses on the Subject Property.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="2326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2132" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;
 at 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1129" data-sentence-id="2337" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; concerns Independence's &lt;span class="ldml-entity"&gt;application to
 amend&lt;/span&gt; the augmentation plan in the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree to permit the
 specified portion of not-nontributary groundwater to be used
 for &lt;em class="ldml-emphasis"&gt;all&lt;/em&gt; of Independence's decreed uses &lt;span class="ldml-parenthetical"&gt;(plus
 municipal use)&lt;/span&gt; and to allow such uses both on and off the
 Subject Property.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2634" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2634" data-sentence-id="2645" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2645" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Independence's application encountered considerable
 opposition before the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2645" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2634" data-sentence-id="2748" class="ldml-sentence"&gt;As relevant
 here, &lt;span class="ldml-entity"&gt;Franktown Citizens Coalition II, Inc.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Franktown&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; and &lt;span class="ldml-entity"&gt;West Elbert County Well Users
 Association&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(collectively, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;Opposers&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; moved for
 summary judgment, arguing that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; could

&lt;span class="ldml-pagenumber" data-val="5" data-page_type="bare_number" data-id="pagenumber_2959"&gt;&lt;/span&gt;
 not approve Independence's &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its
 augmentation plan because it could not make the threshold
 showing of non-speculative intent required by the
 anti-speculation doctrine.&lt;/span&gt; &lt;span data-paragraph-id="2634" data-sentence-id="3151" class="ldml-sentence"&gt;The anti-speculation doctrine is a
 well-established principle of Colorado water law that
 &lt;span class="ldml-quotation quote"&gt;"precludes the appropriator who does not intend to put
 water to use for &lt;span class="ldml-parenthetical"&gt;[their]&lt;/span&gt; own benefit, and has no contractual
 or agency relationship with one who does, from obtaining a
 water use right."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2634" data-sentence-id="3438" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_3151"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Colo. Ground Water Comm'n v.
 N. Kiowa-Bijou Groundwater Mgmt. Dist.&lt;/span&gt;, &lt;/em&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;77&lt;/em&gt; P.3d 62,
 78-79&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2634" data-sentence-id="3541" class="ldml-sentence"&gt;Opposers contended that Independence
 could not satisfy the antispeculation doctrine because
 Independence did not have specific plans to put a specific
 amount of the augmented water to certain proposed uses.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3751" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3751" data-sentence-id="3762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3762" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In response, Independence claimed that under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s
 decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_3762"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek Valley Water
 &amp;Sanitation District v. Rangeview Metropolitan
 District&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d 154&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; had
 no authority to apply the antispeculation doctrine when
 reviewing an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="3751" data-sentence-id="4122" class="ldml-sentence"&gt;Independence argued that such
 authority lay instead with the &lt;span class="ldml-entity"&gt;State Engineer's Office&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"SEO"&lt;/span&gt;)&lt;/span&gt;, which applies the antispeculation doctrine
 as part of its well permitting process.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4301" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4301" data-sentence-id="4312" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4312" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; denied Opposers' motion, agreeing with
 Independence's understanding of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_4312"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry
 Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and concluding that the anti-speculation doctrine
 did not apply to Independence's application.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="4519" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;In re
 &lt;span class="ldml-entity"&gt;Application for Amend&lt;/span&gt;.
&lt;span class="ldml-pagenumber" data-val="6" data-page_type="bare_number" data-id="pagenumber_4549"&gt;&lt;/span&gt;
of an &lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_4519" data-refglobal="case:augmentationplanofindepwatersanitationdist,no19cw3220,at5-7"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Augmentation Plan of Indep. Water &amp;Sanitation
 Dist.&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;No. 19CW3220&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at &lt;em class="ldml-emphasis"&gt;5-7&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Dist. Ct., Water&lt;/span&gt;
&lt;span class="ldml-cite"&gt;Div. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Mar. 6, 2023&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;March 6&lt;/span&gt; Order"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="4690" class="ldml-sentence"&gt;The water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; then entered a final decree approving
 Independence's proposed &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; to its augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="4807" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;In re &lt;span class="ldml-entity"&gt;Application for Amend&lt;/span&gt;. of an &lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_4807" data-refglobal="case:augmentationplanofindepwatersanitationdist,no19cw3220,at5-7"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Augmentation
 Plan of Indep. Water &amp;Sanitation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No.
 19CW3220&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Dist. Ct., Water&lt;/span&gt; &lt;span class="ldml-cite"&gt;Div. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;May 2, 2023&lt;/span&gt;)&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Final Decree"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="4973" class="ldml-sentence"&gt;The Final Decree recited &lt;span class="ldml-entity"&gt;the
 holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_4973"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may
 not apply the anti-speculation doctrine when reviewing an
 application for a determination of rights in nondesignated,
 nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="5201" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_4973" data-refglobal="case:augmentationplanofindepwatersanitationdist,no19cw3220,at5-7"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_4973"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;E. Cherry
 Creek&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4301" data-sentence-id="5249" class="ldml-sentence"&gt;This reference in the Final
 Decree, read in conjunction with the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;March
 6&lt;/span&gt; Order, apparently implied that the same rule applies in the
 context of &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="4301" data-sentence-id="5440" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_5249" data-refglobal="case:augmentationplanofindepwatersanitationdist,no19cw3220,at5-7"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5444" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5444" data-sentence-id="5455" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5455" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Opposers appeal the Final Decree, asserting that the
 anti-speculation doctrine applies to Independence's
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its augmentation plan and that the
 record unambiguously demonstrates that Independence has not
 satisfied that doctrine.&lt;/span&gt; &lt;span data-paragraph-id="5444" data-sentence-id="5709" class="ldml-sentence"&gt;Specifically, Opposers argue that
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_5709"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; recognized a narrow exception to
 the anti-speculation doctrine that applies only to
 &lt;em class="ldml-emphasis"&gt;determinations of rights&lt;/em&gt; in &lt;em class="ldml-emphasis"&gt;nontributary&lt;/em&gt;
 Denver Basin groundwater and that this exception does not
 extend to &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-entity"&gt;applications to amend&lt;/span&gt; an augmentation plan&lt;/em&gt;
 for &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="5444" data-sentence-id="6037" class="ldml-sentence"&gt;As a result,
 Opposers claim, the anti-speculation

&lt;span class="ldml-pagenumber" data-val="7" data-page_type="bare_number" data-id="pagenumber_6090"&gt;&lt;/span&gt;
 doctrine does apply to Independence's proposed &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;
 to its augmentation plan, and the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; erred in
 failing to apply it.&lt;/span&gt; &lt;span data-paragraph-id="5444" data-sentence-id="6227" class="ldml-sentence"&gt;Furthermore, because Independence has
 never asserted a non-speculative intent with respect to
 certain uses of the augmented water in its proposed &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;
 to its augmentation plan, Opposers contend that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;
 should not only reverse the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s relevant
 conclusions of law but also strike what Opposers describe as
 Independence's speculative uses from the amended
 augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6629" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6629" data-sentence-id="6640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6640" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Independence, in contrast, submits that &lt;span class="ldml-entity"&gt;the reasoning in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_6640"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; applies with equal force to the
 not-nontributary groundwater at issue here.&lt;/span&gt; &lt;span data-paragraph-id="6629" data-sentence-id="6797" class="ldml-sentence"&gt;In other words,
 Independence argues that both nontributary and
 not-nontributary groundwater are allocated on the basis of
 land ownership; accordingly, Independence maintains,
 landowners must generally satisfy the same requirements for
 obtaining a determination of rights in either nontributary or
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="6629" data-sentence-id="7130" class="ldml-sentence"&gt;Therefore, because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_7130"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East
 Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; precludes a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from applying the
 anti-speculation doctrine to applications for determinations
 of rights in &lt;em class="ldml-emphasis"&gt;non&lt;/em&gt;tributary groundwater, &lt;span class="ldml-entity"&gt;the holding
 in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt; necessarily precludes a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from
 applying the anti-speculation doctrine to applications for
 determinations of rights in &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="6629" data-sentence-id="7499" class="ldml-sentence"&gt;Furthermore, Independence argues, because
 applications for determinations of rights in not-nontributary
 groundwater are &lt;span class="ldml-quotation quote"&gt;"inexorably intertwined"&lt;/span&gt; with

&lt;span class="ldml-pagenumber" data-val="8" data-page_type="bare_number" data-id="pagenumber_7653"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;applications to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_7499"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 forecloses application of the anti-speculation doctrine to
 &lt;span class="ldml-entity"&gt;applications to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="6629" data-sentence-id="7889" class="ldml-sentence"&gt;Finally, Independence contends
 that the anti-speculation doctrine plays no role in a water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s review of augmentation plans in any event because
 such a review focuses solely on the question of potential
 injury.&lt;/span&gt; &lt;span data-paragraph-id="6629" data-sentence-id="8108" class="ldml-sentence"&gt;For these reasons, Independence asks that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; adopt
 the water &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s reasoning&lt;/span&gt; and affirm the Final Decree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8217" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8217" data-sentence-id="8228" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8228" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s order, albeit on somewhat
 different grounds.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8305" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8305" data-sentence-id="8316" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8316" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by rejecting the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s and
 Independence's reliance on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_8316"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 because it does not resolve the narrow legal question
 Opposers present: whether the anti-speculation doctrine
 applies to an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="8305" data-sentence-id="8613" class="ldml-sentence"&gt;Instead, to answer this
 question, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn to &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt; governing the
 anti-speculation doctrine and augmentation plans, as well as
 our well-developed &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; in both areas.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8792" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8792" data-sentence-id="8803" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8803" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Considering these authorities, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 did not err in declining to apply the anti-speculation
 doctrine to Independence's &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its
 augmentation plan for not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="8792" data-sentence-id="9029" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reach
 this conclusion for two related reasons.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9080" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9080" data-sentence-id="9091" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9091" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, because the anti-speculation doctrine and augmentation
 plans serve different purposes, it does not make sense for
 the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to apply the doctrine

&lt;span class="ldml-pagenumber" data-val="9" data-page_type="bare_number" data-id="pagenumber_9259"&gt;&lt;/span&gt;
 as part of its review of an &lt;span class="ldml-entity"&gt;application to obtain&lt;/span&gt; or &lt;span class="ldml-entity"&gt;amend&lt;/span&gt; an
 augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="9080" data-sentence-id="9343" class="ldml-sentence"&gt;The anti-speculation doctrine exists to
 protect the integrity of the prior appropriation system by
 preventing would-be appropriators from hoarding water rather
 than putting it to beneficial use.&lt;/span&gt; &lt;span data-paragraph-id="9080" data-sentence-id="9541" class="ldml-sentence"&gt;By contrast, augmentation
 plans exist outside the prior appropriation system and afford
 a mechanism to further Colorado's policy of maximum use
 by allowing out-of-priority diversions of water that has
 already been appropriated, provided that such diversions do
 not result in injury to other water users.&lt;/span&gt; &lt;span data-paragraph-id="9080" data-sentence-id="9850" class="ldml-sentence"&gt;While the
 anti-speculation doctrine protects the future of the prior
 appropriation system, augmentation plans inject flexibility
 into that system without injuring existing water rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10039" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10039" data-sentence-id="10050" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10050" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, the only question relevant to a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 review of an augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; thereto)&lt;/span&gt; is
 whether the plan will cause injury to existing water rights.&lt;/span&gt;
&lt;span data-paragraph-id="10039" data-sentence-id="10232" class="ldml-sentence"&gt;While this inquiry necessarily leads the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to
 consider a number of factors-including whether the applicant
 has put forward a proposed beneficial use-the sole purpose of
 evaluating those factors is to identify potential injury to
 existing water rights.&lt;/span&gt; &lt;span data-paragraph-id="10039" data-sentence-id="10498" class="ldml-sentence"&gt;The anti-speculation doctrine plays no
 role in this injury analysis.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10568" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10568" data-sentence-id="10579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10579" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found that Independence's amended
 augmentation plan will not result in injury to existing water
 rights.&lt;/span&gt; &lt;span data-paragraph-id="10568" data-sentence-id="10712" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no clear error

&lt;span class="ldml-pagenumber" data-val="10" data-page_type="bare_number" data-id="pagenumber_10741"&gt;&lt;/span&gt;
 in this finding.&lt;/span&gt; &lt;span data-paragraph-id="10568" data-sentence-id="10760" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 approval of Independence's proposed &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; to its
 augmentation plan.&lt;/span&gt;&lt;span data-paragraph-id="10568" data-sentence-id="10872" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="
 I.
Factual and Procedural Background
" data-confidences="very_high" data-ordinal_end="1" data-format="upper_case_roman_numeral" data-value="I.
 Factual and Procedural Background" data-ordinal_start="1" data-parsed="true" data-specifier="I" id="heading_10875" data-types="background" data-id="heading_10875"&gt;&lt;span data-paragraph-id="10875" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10875" data-sentence-id="10886" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="10875" data-sentence-id="10889" class="ldml-sentence"&gt;Factual and Procedural Background&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10923" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10923" data-sentence-id="10934" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10934" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by explaining the relevant terms of the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree.&lt;/span&gt;
&lt;span data-paragraph-id="10923" data-sentence-id="11000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then describe Independence's &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; the
 augmentation plan that was initially approved as part of the
 &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree.&lt;/span&gt; &lt;span data-paragraph-id="10923" data-sentence-id="11133" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; trace the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; proceedings
 that brought &lt;span class="ldml-entity"&gt;this case before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 A.
The Initial Decree and Augmentation Plan
" data-ordinal_end="1" data-format="upper_case_letters" data-value="A.
 The Initial Decree and Augmentation Plan" data-ordinal_start="1" data-parsed="true" data-specifier="A" id="heading_11214" data-id="heading_11214"&gt;&lt;span data-paragraph-id="11214" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11214" data-sentence-id="11225" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="11214" data-sentence-id="11228" class="ldml-sentence"&gt;The Initial Decree and Augmentation Plan&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11269" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11269" data-sentence-id="11280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11280" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree obtained by Independence's
 predecessor-in-interest, Independence has 1,269 acre-feet per
 year of nontributary groundwater available for withdrawal
 from the Lower Dawson, Denver, Arapahoe, and &lt;span class="ldml-entity"&gt;Laramie-Fox
 Hills&lt;/span&gt; aquifers.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="11531" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11280" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;2006 Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="11550" class="ldml-sentence"&gt;Relevant here, the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt;
 Decree also includes 288.3 acre-feet per year of
 not-nontributary groundwater available for withdrawal from
 the Upper Dawson aquifer.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="11711" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11550" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="11715" class="ldml-sentence"&gt;Both the nontributary
 and the not-nontributary groundwater are decreed for
 &lt;span class="ldml-quotation quote"&gt;"use&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt;, reuse&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt; and successive&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt; use&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt;"&lt;/span&gt; for
 &lt;span class="ldml-quotation quote"&gt;"domestic, industrial, commercial, irrigation, stock
 watering, fire protection, and exchange and augmentation
 purposes, both on and off the Subject Property."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="11269" data-sentence-id="11998" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11998" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="11" data-page_type="bare_number" data-id="pagenumber_12002"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In addition, the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree approved a statutorily required
 augmentation plan for the not-nontributary groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="11269" data-sentence-id="12136" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11998" data-refglobal="statute:/co/statutes/37/90/137_9"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(requiring &lt;span class="ldml-quotation quote"&gt;"judicial approval of plans for augmentation
 . . . prior to the use of"&lt;/span&gt; not-nontributary
 groundwater)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12297" class="ldml-sentence"&gt;The augmentation plan permits withdrawals of up
 to seventy-five of the 288.3 acre-feet per year of
 not-nontributary groundwater decreed to be available.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12297" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;2006
 Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12472" class="ldml-sentence"&gt;Notably, the plan lists only &lt;span class="ldml-quotation quote"&gt;"inhouse and
 irrigation use on the Subject Property"&lt;/span&gt; as uses for this
 augmented water.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12590" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12472" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12594" class="ldml-sentence"&gt;Finally, the plan designates
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;eturn flows from either or both inhouse and
 irrigation use"&lt;/span&gt; as the sole source of water to replace
 depletions from the permitted withdrawals during pumping and
 reserves a portion of the decreed nontributary groundwater to
 replace depletions after pumping.&lt;/span&gt; &lt;span data-paragraph-id="11269" data-sentence-id="12888" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12594" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 B.
Independence's Application to Amend the 2006 Augmentation
 Plan
" data-ordinal_end="2" data-format="upper_case_letters" data-value="B.
 Independence's Application to Amend the 2006 Augmentation
 Plan" data-ordinal_start="2" data-parsed="true" data-specifier="B" id="heading_12898" data-id="heading_12898"&gt;&lt;span data-paragraph-id="12898" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12898" data-sentence-id="12909" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="12898" data-sentence-id="12912" class="ldml-sentence"&gt;Independence's &lt;span class="ldml-entity"&gt;Application to Amend&lt;/span&gt; the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Augmentation
 Plan&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12976" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12976" data-sentence-id="12987" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12987" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Upon acquiring the interests described in the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree,
 Independence applied for &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; to the augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="12976" data-sentence-id="13117" class="ldml-sentence"&gt;The proposed &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; would not alter the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt;
 Decree's limit on the withdrawal of not-nontributary
 groundwater to seventy-five acre-feet per year.&lt;/span&gt; &lt;span data-paragraph-id="12976" data-sentence-id="13268" class="ldml-sentence"&gt;However, it
 expands the list of uses included in the augmentation plan by
 incorporating all the uses adjudicated

&lt;span class="ldml-pagenumber" data-val="12" data-page_type="bare_number" data-id="pagenumber_13385"&gt;&lt;/span&gt;
 in the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree-namely, &lt;span class="ldml-quotation quote"&gt;"domestic,
 municipal,&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; industrial, commercial, irrigation, stock
 watering, fire protection, and exchange and augmentation
 purposes, both on and off the Subject Property,"&lt;/span&gt; in
 addition to the inhouse and irrigation uses mentioned in the
 original augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="12976" data-sentence-id="13683" class="ldml-sentence"&gt;Independence's application
 did not specify how much &lt;span class="ldml-parenthetical"&gt;(if any)&lt;/span&gt; of the seventy-five acre
 feet it would allocate to each use.&lt;/span&gt; &lt;span data-paragraph-id="12976" data-sentence-id="13807" class="ldml-sentence"&gt;Nor did it describe a
 plan to use any amount of this water off the Subject
 Property.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13894" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13894" data-sentence-id="13905" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13905" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In accordance with &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;37-92-302&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the
 water referee for &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13905" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; consulted with the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13905" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Division 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Engineer, &lt;span class="ldml-entity"&gt;Corey DeAngelis&lt;/span&gt;, regarding Independence's
 application.&lt;/span&gt; &lt;span data-paragraph-id="13894" data-sentence-id="14097" class="ldml-sentence"&gt;In a summary of their consultation, DeAngelis
 requested that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; require Independence to
 &lt;span class="ldml-quotation quote"&gt;"document that the claimed return flows from septic
 systems and irrigation continue to cover the during-pumping
 stream depletions in time, location and amount."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13894" data-sentence-id="14363" class="ldml-sentence"&gt;And, to
 the

&lt;span class="ldml-pagenumber" data-val="13" data-page_type="bare_number" data-id="pagenumber_14378"&gt;&lt;/span&gt;
 extent that Independence could not demonstrate sufficient
 return flows, DeAngelis stated that Independence &lt;span class="ldml-quotation quote"&gt;"must
 be required to pump water directly into the stream in the
 amount that has not been replaced by return flows."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14606" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14606" data-sentence-id="14617" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14617" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Numerous individuals and entities from neighboring
 communities, including Opposers, filed statements of
 opposition.&lt;/span&gt; &lt;span data-paragraph-id="14606" data-sentence-id="14740" class="ldml-sentence"&gt;Later, several opposers submitted comments on
 initial and subsequent versions of the referee's proposed
 ruling.&lt;/span&gt; &lt;span data-paragraph-id="14606" data-sentence-id="14854" class="ldml-sentence"&gt;Opposers' statements and comments raised multiple
 concerns, including that Independence's application
 violated the anti-speculation doctrine.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14998" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14998" data-sentence-id="15009" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15009" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The referee's final ruling, issued in &lt;span class="ldml-entity"&gt;July 2021&lt;/span&gt;, did not
 address Opposers' concerns.&lt;/span&gt; &lt;span data-paragraph-id="14998" data-sentence-id="15100" class="ldml-sentence"&gt;Accordingly, Opposers filed
 protests reiterating, among other things, that
 Independence's application did not comply with the
 anti-speculation doctrine.&lt;/span&gt; &lt;span data-paragraph-id="14998" data-sentence-id="15256" class="ldml-sentence"&gt;Shortly thereafter, the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; set &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for a five-day trial.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15328" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15328" data-sentence-id="15339" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15339" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 During discovery, Franktown submitted interrogatories to
 Independence requesting that Independence provide the
 &lt;span class="ldml-quotation quote"&gt;"estimated annual amount of water"&lt;/span&gt; Independence
 would dedicate to each of its proposed new uses of the
 augmented water, as well as the locations in which it
 proposed to exercise those uses.&lt;/span&gt; &lt;span data-paragraph-id="15328" data-sentence-id="15650" class="ldml-sentence"&gt;Viewing these
 interrogatories as related to Franktown's claims under
 the anti-speculation doctrine, Independence responded that it
 was not required to make a threshold showing of
 non-speculative use under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_15650"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15328" data-sentence-id="15904" class="ldml-sentence"&gt;Independence nevertheless
 provided estimates of its annual municipal and

&lt;span class="ldml-pagenumber" data-val="14" data-page_type="bare_number" data-id="pagenumber_15980"&gt;&lt;/span&gt;
 commercial demands.&lt;/span&gt;&lt;span data-paragraph-id="15328" data-sentence-id="16001" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Notably, Independence indicated that it
 had &lt;span class="ldml-quotation quote"&gt;"no specific plans"&lt;/span&gt; to use the augmented water
 for domestic, industrial, exchange, or stockwatering
 purposes.&lt;/span&gt; &lt;span data-paragraph-id="15328" data-sentence-id="16161" class="ldml-sentence"&gt;Similarly, Independence stated that it had no
 specific plans to use its not-nontributary groundwater for
 augmentation purposes other than those covered in the
 original decree nor to use the augmented water for
 &lt;em class="ldml-emphasis"&gt;any&lt;/em&gt; purpose in &lt;span class="ldml-quotation quote"&gt;"any location other than the
 Subject Property."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15328" data-sentence-id="16439" class="ldml-sentence"&gt;Instead, Independence explained that
 it &lt;span class="ldml-quotation quote"&gt;"may need to put"&lt;/span&gt; that water to any of its
 proposed uses to satisfy its &lt;span class="ldml-quotation quote"&gt;"future water
 obligations."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 C.
Opposers' Motion for Summary Judgment
" data-confidences="medium" data-ordinal_end="3" data-format="upper_case_letters" data-value="C.
 Opposers' Motion for Summary Judgment" data-ordinal_start="3" data-parsed="true" data-specifier="C" id="heading_16582" data-types="motion_summary_judgment" data-id="heading_16582"&gt;&lt;span data-paragraph-id="16582" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="16582" data-sentence-id="16593" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="16582" data-sentence-id="16596" class="ldml-sentence"&gt;Opposers' &lt;span class="ldml-entity"&gt;Motion for Summary Judgment&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="16634" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16634" data-sentence-id="16645" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16645" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following discovery, Opposers moved for summary judgment
 pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, arguing that the anti-speculation
 doctrine applies to an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation
 plan to cover new uses for not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="16634" data-sentence-id="16886" class="ldml-sentence"&gt;In
 Opposers' view, Independence's discovery responses
 indisputably showed that Independence could not make the
 threshold showing of non-speculative intent required by the
 anti-speculation doctrine with respect to its proposal to add
 domestic, industrial, and stock-watering uses to its
 augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="16634" data-sentence-id="17197" class="ldml-sentence"&gt;Nor could Independence make a showing of
 non-speculative intent with

&lt;span class="ldml-pagenumber" data-val="15" data-page_type="bare_number" data-id="pagenumber_17269"&gt;&lt;/span&gt;
 respect to its proposal to add any use off the Subject
 Property.&lt;/span&gt; &lt;span data-paragraph-id="16634" data-sentence-id="17337" class="ldml-sentence"&gt;Accordingly, Opposers asked the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to
 dismiss Independence's application with respect to these
 uses.&lt;/span&gt;&lt;span data-paragraph-id="16634" data-sentence-id="17448" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN6" class="ldml-noteanchor" id="note-ref-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17451" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17451" data-sentence-id="17462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17462" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In its response, Independence asserted that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_17462"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry
 Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; precludes a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from applying the
 anti-speculation doctrine to determinations of rights in
 Denver Basin groundwater, whether nontributary or
 not-nontributary.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="17700" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_17700"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;
 considered whether water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must apply the
 anti-speculation doctrine when adjudicating a Denver Basin
 landowner's application for a determination of
 nontributary groundwater rights.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="17923" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_17700"&gt;&lt;span class="ldml-cite"&gt;109 P.3d at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="17940" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; held
 that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may not apply the anti-speculation doctrine
 when determining Denver Basin nontributary groundwater rights
 because the General Assembly reserved anti-speculation review
 for the SEO's well-permitting process.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="18177" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_17940"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="18190" class="ldml-sentence"&gt;Independence argued that &lt;span class="ldml-entity"&gt;this holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_18190"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry
 Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; necessarily prohibits a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from applying
 the anti-speculation doctrine to a

&lt;span class="ldml-pagenumber" data-val="16" data-page_type="bare_number" data-id="pagenumber_18338"&gt;&lt;/span&gt;
 determination of rights in not-nontributary groundwater
 because both not-nontributary and nontributary groundwater
 are allocated on the basis of land ownership.&lt;/span&gt; &lt;span data-paragraph-id="17451" data-sentence-id="18503" class="ldml-sentence"&gt;Therefore,
 Independence maintained&lt;em class="ldml-emphasis"&gt;,&lt;/em&gt; a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; is likewise
 prohibited from applying the anti-speculation doctrine to an
 application for an augmentation plan for not-nontributary
 groundwater &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; to such an augmentation plan)&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="17451" data-sentence-id="18748" class="ldml-sentence"&gt;Independence further contended that the anti-speculation
 doctrine has no place in a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s review of an
 augmentation plan in any event because such a review
 considers only whether implementation of the plan will
 injuriously affect existing water rights.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19013" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19013" data-sentence-id="19024" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19024" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; agreed with Independence.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;March 6&lt;/span&gt; Order, at
 1&lt;b class="ldml-bold"&gt;.&lt;/b&gt;&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19093" class="ldml-sentence"&gt;It, too, read &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_19093"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 as precluding a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from applying the antispeculation
 doctrine to a determination of rights in not-nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19261" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19093" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 4-5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19273" class="ldml-sentence"&gt;The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; reasoned
 that because landowners have a statutory right to adjudicate
 their right to use Denver Basin groundwater for future,
 undetermined uses, water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; performing such adjudications
 may not apply the anti-speculation doctrine as part of their
 review.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19551" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19273" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19555" class="ldml-sentence"&gt;Instead, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; explained,
 anti-speculation review occurs only when the SEO considers an
 application for a well permit which, if successful,
 authorizes Denver Basin landowners to construct a well and,
 therefore, to actually exercise their adjudicated rights.&lt;/span&gt;
&lt;span data-paragraph-id="19013" data-sentence-id="19827" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19827" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="17" data-page_type="bare_number" data-id="pagenumber_19831"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; noted that, in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, Independence's
 predecessor-in-interest had already adjudicated the rights in
 the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19985" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19827" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="19995" class="ldml-sentence"&gt;Therefore, Independence
 had a vested right to apply its not-nontributary groundwater
 to &lt;em class="ldml-emphasis"&gt;all&lt;/em&gt; uses listed in the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree, including all
 the uses Independence sought to add to the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="20204" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19995" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="20208" class="ldml-sentence"&gt;The only question for the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;,
 then, was whether Independence's proposed amended
 augmentation plan would continue to avoid injury to other
 water users.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="20371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20208" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="20375" class="ldml-sentence"&gt;Accordingly, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; denied
 Opposers' motion and concluded that, as a matter of law,
 the antispeculation doctrine did not apply to
 Independence's application.&lt;/span&gt; &lt;span data-paragraph-id="19013" data-sentence-id="20545" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20375" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 D.
The Water Court's Final Decree
" data-ordinal_end="4" data-format="upper_case_letters" data-value="D.
 The Water Court's Final Decree" data-ordinal_start="4" data-parsed="true" data-specifier="D" id="heading_20555" data-id="heading_20555"&gt;&lt;span data-paragraph-id="20555" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="20555" data-sentence-id="20566" class="ldml-sentence"&gt;D.&lt;/span&gt;
&lt;span data-paragraph-id="20555" data-sentence-id="20569" class="ldml-sentence"&gt;The Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;'s Final Decree&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20600" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20600" data-sentence-id="20611" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20611" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following the &lt;span class="ldml-entity"&gt;March 6&lt;/span&gt; Order, Independence and Opposers
 stipulated to the entry of a final decree consistent with the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s order.&lt;/span&gt; &lt;span data-paragraph-id="20600" data-sentence-id="20756" class="ldml-sentence"&gt;However, Opposers preserved their
 right to appeal the water &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s conclusion&lt;/span&gt; that the
 antispeculation doctrine did not apply to Independence's
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20948" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20948" data-sentence-id="20959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20959" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; accepted &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' stipulations,
 vacated the trial date, and entered a final decree.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21069" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See
 generally&lt;/em&gt; Final Decree.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21098" class="ldml-sentence"&gt;The Final Decree amends
 Independence's augmentation plan in accordance with
 Independence's proposal, confirming that Independence may
 &lt;span class="ldml-quotation quote"&gt;"use, reuse, and successive&lt;span class="ldml-parenthetical"&gt;[ly]&lt;/span&gt; use"&lt;/span&gt; seventy-five
 acre-feet of its not-nontributary water &lt;span class="ldml-quotation quote"&gt;"for in-house,
 municipal, domestic,

&lt;span class="ldml-pagenumber" data-val="18" data-page_type="bare_number" data-id="pagenumber_21365"&gt;&lt;/span&gt;
 industrial, commercial, irrigation, stock watering, fire
 protection, and exchange and augmentation purposes, on and
 off the Subject Property."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21512" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21098" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21522" class="ldml-sentence"&gt;The plan
 continues to identify return flows as a means of replacing
 depletions associated with these withdrawals.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21638" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21522" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at
 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21649" class="ldml-sentence"&gt;However, in addition to return flows, and consistent with
 the summary of consultation prepared by Division Engineer
 DeAngelis, the plan requires Independence to directly release
 nontributary groundwater to the potentially affected surface
 streams if Independence's return flows prove inadequate
 to replace all depletions.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21976" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21649" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="21980" class="ldml-sentence"&gt;Finally, the plan
 includes provisions specifying how Independence will replace
 post-pumping depletions.&lt;/span&gt; &lt;span data-paragraph-id="20948" data-sentence-id="22086" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21980" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 3-4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895687784" data-vids="895687784" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_22176,sentence_21980"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Danielson v. Castle Meadows, Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;791 P.2d 1106, 1115&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;requiring that augmentation plans for
 not-nontributary groundwater provide for post-pumping
 depletions&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22283" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22283" data-sentence-id="22294" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22294" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Final Decree also includes findings of fact and
 conclusions of law.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22372" class="ldml-sentence"&gt;As relevant here, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found
 that Independence's augmentation plan would not
 injuriously affect vested water rights or decreed conditional
 rights.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22533" class="ldml-sentence"&gt;Final &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22533" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22553" class="ldml-sentence"&gt;In addition, citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_22553"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East
 Cherry Creek&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; observed
 that, as a matter of law, the anti-speculation doctrine does
 not apply to judicial determinations of nondesignated,
 nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22780" class="ldml-sentence"&gt;Final &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22780" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22800" class="ldml-sentence"&gt;Instead, the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; explained, the anti-speculation doctrine is
 &lt;span class="ldml-quotation quote"&gt;"applied by the &lt;span class="ldml-parenthetical"&gt;[SEO]&lt;/span&gt; during the well permitting
 process."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22931" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22800" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="22935" class="ldml-sentence"&gt;Although the

&lt;span class="ldml-pagenumber" data-val="19" data-page_type="bare_number" data-id="pagenumber_22950"&gt;&lt;/span&gt;
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not expressly hold that the anti-speculation
 doctrine does not apply to judicial determinations of
 &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater, the Final Decree
 implied as much.&lt;/span&gt; &lt;span data-paragraph-id="22283" data-sentence-id="23134" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22935" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23142" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23142" data-sentence-id="23153" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23153" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Similarly, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not expressly conclude that
 the antispeculation doctrine does not apply to an &lt;span class="ldml-entity"&gt;application
 to amend&lt;/span&gt; an augmentation plan for not-nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="23142" data-sentence-id="23346" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23153" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23142" data-sentence-id="23354" class="ldml-sentence"&gt;However, it did conclude that
 &lt;span class="ldml-quotation quote"&gt;"an augmentation plan is intended to prevent injury to
 owners or users of surface water or tributary
 groundwater"&lt;/span&gt; and that, because Independence's
 amended augmentation plan &lt;span class="ldml-quotation quote"&gt;"will not injuriously
 affect"&lt;/span&gt; such water rights, &lt;span class="ldml-quotation quote"&gt;"it shall be
 approved."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23142" data-sentence-id="23636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23354" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23142" data-sentence-id="23640" class="ldml-sentence"&gt;Accordingly, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 approved Independence's amended augmentation plan
 consistent with Independence's proposal and without
 performing an anti-speculation analysis.&lt;/span&gt; &lt;span data-paragraph-id="23142" data-sentence-id="23815" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23640" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23819" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23819" data-sentence-id="23830" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23830" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Opposers appealed the Final Decree.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="
 II.
Standard of Review
" data-confidences="very_high" data-ordinal_end="2" data-format="upper_case_roman_numeral" data-value="II.
 Standard of Review" data-ordinal_start="2" data-parsed="true" data-specifier="II" id="heading_23871" data-types="standardofreview" data-id="heading_23871"&gt;&lt;span data-paragraph-id="23871" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="23871" data-sentence-id="23882" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="23871" data-sentence-id="23886" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="23905" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23905" data-sentence-id="23916" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23916" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review a water &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s conclusions&lt;/span&gt; of law de novo.&lt;/span&gt;
&lt;span data-paragraph-id="23905" data-sentence-id="23974" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_23916" data-refglobal="case:dillvyamasakiring,llc,2019co14"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Dill v. Yamasaki Ring, LLC&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23916" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894924112" data-vids="894924112" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;435 P.3d 1067, 1074&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23905" data-sentence-id="24042" class="ldml-sentence"&gt;In contrast, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;e accept the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s factual findings on appeal unless &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are so
 clearly erroneous as to find no support in the record."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="23905" data-sentence-id="24190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894742747" data-vids="894742747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_24190"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burlington Ditch Reservoir &amp;Land Co. v. Metro
 Wastewater Reclamation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;256 P.3d 645, 660&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;June 20,
 2011&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="20" data-page_type="bare_number" data-id="pagenumber_24348"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24348" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24348" data-sentence-id="24359" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24359" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Opposers have made clear that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are appealing the Final
 Decree-indisputably a &lt;span class="ldml-quotation quote"&gt;"judgment and decree"&lt;/span&gt; subject
 to our review.&lt;/span&gt; &lt;span data-paragraph-id="24348" data-sentence-id="24492" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24359" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24348" data-sentence-id="24508" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; acknowledge, however, that
 the Final Decree does not expressly conclude that a water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may not apply the anti-speculation doctrine in
 evaluating an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation plan for
 the use of not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="24348" data-sentence-id="24754" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 recognize that to the extent the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s order
 denying Opposers' &lt;span class="ldml-entity"&gt;motion for summary judgment&lt;/span&gt; does reach
 this conclusion, orders denying summary judgment are usually
 &lt;span class="ldml-quotation quote"&gt;"unappealable interlocutory ruling&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24348" data-sentence-id="24981" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886500689" data-vids="886500689" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_24754"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Manuel
 v. Fort Collins Newspapers, Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;631 P.2d 1114, 1116&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1981&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25057" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25057" data-sentence-id="25068" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25068" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; do not view the absence from the Final Decree of an
 express conclusion regarding the applicability of the
 anti-speculation doctrine to an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an
 augmentation plan as a barrier to our review.&lt;/span&gt; &lt;span data-paragraph-id="25057" data-sentence-id="25286" class="ldml-sentence"&gt;The Final
 Decree approved Independence's &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; to its
 augmentation plan in full without applying the
 anti-speculation doctrine based, at least in part, on the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s order denying Opposers' &lt;span class="ldml-entity"&gt;motion for
 summary judgment&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25057" data-sentence-id="25521" class="ldml-sentence"&gt;Final &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25521" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25057" data-sentence-id="25541" class="ldml-sentence"&gt;In addition, the Final
 Decree specifically reflected the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s finding
 that the amended augmentation plan would not cause injury to
 vested water rights or decreed conditional rights.&lt;/span&gt;
&lt;span data-paragraph-id="25057" data-sentence-id="25735" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25541" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25057" data-sentence-id="25745" class="ldml-sentence"&gt;Therefore, the Final Decree fully captures
 the issues raised in this appeal.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="21" data-page_type="bare_number" data-id="pagenumber_25823"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="
 III.
Analysis
" data-confidences="very_high" data-ordinal_end="3" data-format="upper_case_roman_numeral" data-value="III.
 Analysis" data-ordinal_start="3" data-parsed="true" data-specifier="III" id="heading_25823" data-types="analysis" data-id="heading_25823"&gt;&lt;span data-paragraph-id="25823" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="25823" data-sentence-id="25834" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="25823" data-sentence-id="25839" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25848" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25848" data-sentence-id="25859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25859" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because the heart of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' dispute is their
 diverging &lt;span class="ldml-entity"&gt;interpretations of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_25859"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 begin with a discussion of &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;'
 arguments concerning it.&lt;/span&gt; &lt;span data-paragraph-id="25848" data-sentence-id="26048" class="ldml-sentence"&gt;Ultimately, however, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude
 that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_26048"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not answer the narrow
 legal question before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;: whether the anti-speculation
 doctrine applies to a Denver Basin landowner's
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="25848" data-sentence-id="26314" class="ldml-sentence"&gt;To resolve that question, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 consider the principles underlying the anti-speculation
 doctrine and the concept and requirements of augmentation
 plans.&lt;/span&gt; &lt;span data-paragraph-id="25848" data-sentence-id="26467" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not err in declining
 to apply the anti-speculation doctrine to Independence's
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="25848" data-sentence-id="26658" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s judgment and decree approving
 Independence's amended augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 A.
East Cherry Creek
" data-ordinal_end="1" data-format="upper_case_letters" data-value="A.
 East Cherry Creek" data-ordinal_start="1" data-parsed="true" data-specifier="A" id="heading_26773" data-id="heading_26773"&gt;&lt;span data-paragraph-id="26773" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26773" data-sentence-id="26784" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="26773" data-sentence-id="26787" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 Does
 Not Resolve Whether the AntiSpeculation Doctrine Applies to
 Independence's Application
" data-merge_confidence="medium" data-value="Does
 Not Resolve Whether the AntiSpeculation Doctrine Applies to
 Independence's Application" data-format="title_case_lacks_specifier_italics" data-parsed="true" data-specifier="" id="heading_26805" data-id="heading_26805"&gt;&lt;span data-paragraph-id="26805" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26805" data-sentence-id="26816" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Does
 Not Resolve Whether the AntiSpeculation Doctrine Applies to
 Independence's Application&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26910" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26910" data-sentence-id="26921" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26921" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_26921"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; concerned nontributary groundwater
 in the Denver Basin.&lt;/span&gt; &lt;span data-paragraph-id="26910" data-sentence-id="27000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_26921"&gt;&lt;span class="ldml-cite"&gt;109 P.3d at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26910" data-sentence-id="27017" class="ldml-sentence"&gt;To provide necessary
 context for our discussion of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_27017"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 briefly review the legal framework governing Denver Basin
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="26910" data-sentence-id="27164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then discuss &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_27164"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s
 holding&lt;/span&gt;, present &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;'

&lt;span class="ldml-pagenumber" data-val="22" data-page_type="bare_number" data-id="pagenumber_27233"&gt;&lt;/span&gt;
 conflicting views of that holding, and, finally, explain why
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_27164"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not govern our decision
 today.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 1.
Denver Basin Groundwater
" data-ordinal_end="1" data-format="number" data-value="1.
 Denver Basin Groundwater" data-ordinal_start="1" data-parsed="true" data-specifier="1" id="heading_27352" data-id="heading_27352"&gt;&lt;span data-paragraph-id="27352" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="27352" data-sentence-id="27363" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;span data-paragraph-id="27352" data-sentence-id="27366" class="ldml-sentence"&gt;Denver Basin Groundwater&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="27391" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27391" data-sentence-id="27402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27402" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Denver Basin encompasses portions of the Dawson
 &lt;span class="ldml-parenthetical"&gt;(including Upper and Lower portions)&lt;/span&gt;, Denver, Arapahoe, and
 &lt;span class="ldml-entity"&gt;Laramie-Fox Hills&lt;/span&gt; aquifers that underlie an approximately
 6,700-square-mile region covering much of the Front Range.&lt;/span&gt;
&lt;span data-paragraph-id="27391" data-sentence-id="27639" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_27402" data-refglobal="case:parkerwaterandsanitationdistrictvreinno23sa1412024co71november4,2024"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Parker Water &amp;Sanitation Dist. v. Rein&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2024 CO
 71M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27402" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:559p3d217,223"&gt;&lt;span class="ldml-cite"&gt;559 P.3d 217, 223&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27391" data-sentence-id="27718" class="ldml-sentence"&gt;Though groundwater in most
 of Colorado is presumed to be tributary and, therefore,
 subject to the prior appropriation system, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_27718"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the General Assembly has
 distinguished Denver Basin groundwater from other groundwater
 in Colorado for two reasons, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27391" data-sentence-id="28030" class="ldml-sentence"&gt;First, Denver Basin groundwater carries immense
 economic importance relative to its de minimis impact on
 surface streams.&lt;/span&gt; &lt;span data-paragraph-id="27391" data-sentence-id="28154" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28030" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27391" data-sentence-id="28158" class="ldml-sentence"&gt;Second, it is feasible to
 account for those de minimis impacts by replacing the limited
 surface water depletions associated with pumping from the
 Denver Basin.&lt;/span&gt; &lt;span data-paragraph-id="27391" data-sentence-id="28321" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28158" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_28158"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Water Rts. of Park Cnty.
 Sportsmen's Ranch LLP v. Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d 262, 266&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of reh'g&lt;/em&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 4, 1999&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28464" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28464" data-sentence-id="28475" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28475" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, the General Assembly crafted a
 classification and administration scheme that is unique to
 the Denver Basin.&lt;/span&gt; &lt;span data-paragraph-id="28464" data-sentence-id="28609" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_28475"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 73
 n.19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28464" data-sentence-id="28646" class="ldml-sentence"&gt;Specifically, Denver Basin groundwater is divided into
 two categories:

&lt;span class="ldml-pagenumber" data-val="23" data-page_type="bare_number" data-id="pagenumber_28720"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; nontributary groundwater, defined, like nontributary
 groundwater in other parts of Colorado, as groundwater
 &lt;span class="ldml-quotation quote"&gt;"the withdrawal of which will not, within one hundred
 years of continuous withdrawal, deplete the flow of a natural
 stream . . . at an annual rate greater than one-tenth of one
 percent of the annual rate of withdrawal,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28646" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28464" data-sentence-id="29078" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;But see&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_29078"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 265,
 267&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; the hydrostatic pressure assumption, which
 applies only when determining whether Denver Basin
 groundwater is nontributary&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; not-nontributary
 groundwater, which exists only in the Denver Basin and is
 defined as groundwater that does not meet the definition of
 nontributary groundwater because withdrawing it
 &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;will&lt;/em&gt;, within one hundred years, deplete the
 flow of a natural stream . . . at an annual rate of greater
 than one-tenth of one percent of the annual rate of
 withdrawal,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29078" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_29078"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 274-75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;clarifying that
 not-nontributary groundwater is statutorily limited to the
 Denver Basin&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29787" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29787" data-sentence-id="29798" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29798" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nontributary groundwater throughout Colorado is not allocated
 under the prior appropriation system, but rather &lt;span class="ldml-quotation quote"&gt;"upon
 the basis of ownership of the overlying land."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29787" data-sentence-id="29969" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29798" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;see also Parker&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶
 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:559p3d217,223"&gt;&lt;span class="ldml-cite"&gt;559 P.3d at 227&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29787" data-sentence-id="30042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This statutory scheme&lt;/span&gt; confers upon
 landowners an inchoate right to control and use the
 nontributary groundwater beneath their land that vests when
 the SEO issues a well permit or when the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; issues a
 decree determining the

&lt;span class="ldml-pagenumber" data-val="24" data-page_type="bare_number" data-id="pagenumber_30280"&gt;&lt;/span&gt;
 landowner's rights in the underlying groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="29787" data-sentence-id="30332" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_30042" data-refglobal="case:parkerwaterandsanitationdistrictvreinno23sa1412024co71november4,2024"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Parker&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30042" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 21, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:559p3d217,223"&gt;&lt;span class="ldml-cite"&gt;559 P.3d at &lt;em class="ldml-emphasis"&gt;227&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N.
 Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 71-72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29787" data-sentence-id="30403" class="ldml-sentence"&gt;Not-nontributary
 groundwater is also &lt;span class="ldml-quotation quote"&gt;"administered on the basis of land
 ownership ...."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29787" data-sentence-id="30493" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_30403"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="29787" data-sentence-id="30524" class="ldml-sentence"&gt;Unlike nontributary groundwater, however, Denver Basin
 landowners must obtain &lt;span class="ldml-quotation quote"&gt;"judicial approval of plans for
 augmentation . . . prior to the use of &lt;span class="ldml-parenthetical"&gt;[their
 not-nontributary]&lt;/span&gt; groundwater."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29787" data-sentence-id="30715" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30524" data-refglobal="statute:/co/statutes/37/90/137_9"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 2.
East Cherry Creek
" data-ordinal_end="2" data-format="number" data-value="2.
 East Cherry Creek" data-ordinal_start="2" data-parsed="true" data-specifier="2" id="heading_30743" data-id="heading_30743"&gt;&lt;span data-paragraph-id="30743" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30743" data-sentence-id="30754" class="ldml-sentence"&gt;2.&lt;/span&gt;
&lt;span data-paragraph-id="30743" data-sentence-id="30757" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="30775" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30775" data-sentence-id="30786" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30786" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_30786"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were asked to decide
 whether water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must apply the anti-speculation doctrine
 as part of adjudicating a Denver Basin landowner's
 application for a determination of rights in nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31025" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_30786"&gt;&lt;span class="ldml-cite"&gt;109 P.3d at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; held that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may
 not apply the doctrine in this context.&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_31042"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="30775" data-sentence-id="31125" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; began by explaining that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_31125" data-refglobal="statute:/co/statutes/37/90/137_6"&gt;&lt;span class="ldml-cite"&gt;section 37-90-137&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; allows
 Denver Basin landowners to commence adjudication proceedings
 &lt;span class="ldml-quotation quote"&gt;"at any time"&lt;/span&gt; to seek a determination of rights
 &lt;span class="ldml-quotation quote"&gt;"not only for existing, but also for future, uses."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="30775" data-sentence-id="31345" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_31125"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;E. Cherry Creek&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31379" class="ldml-sentence"&gt;Thus, in
 contrast to a conditional use right-the context in which &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 first announced the antispeculation doctrine, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_31379"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colo. River
 Water Conservation Dist. v. Vidler Tunnel Water Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;594
 P.2d 566, 569&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;-a determination of rights in
 nontributary groundwater neither requires applicants to
 present a date by which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; will begin a withdrawal project
 nor to show reasonable diligence towards completing such a

&lt;span class="ldml-pagenumber" data-val="25" data-page_type="bare_number" data-id="pagenumber_31804"&gt;&lt;/span&gt;
 project.&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31815" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_31379"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;E. Cherry Creek&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="31849" class="ldml-sentence"&gt;Allowing
 a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to apply the antispeculation doctrine at the
 adjudication stage would, therefore, &lt;span class="ldml-quotation quote"&gt;"thwart a clearly
 expressed &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt; to permit adjudication for
 future uses without a corresponding obligation to develop
 them."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30775" data-sentence-id="32098" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_31849"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32110" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32110" data-sentence-id="32121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32121" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nevertheless, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; continued, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;legislature&lt;/span&gt; has also
 made clear . . . that nontributary ground water may be
 withdrawn solely for beneficial uses."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32110" data-sentence-id="32276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32121" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32110" data-sentence-id="32280" class="ldml-sentence"&gt;To
 satisfy this condition, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;
 requires a Denver Basin landowner who seeks to use their
 nontributary groundwater to obtain a permit from the SEO.&lt;/span&gt;
&lt;span data-paragraph-id="32110" data-sentence-id="32459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32280" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32110" data-sentence-id="32463" class="ldml-sentence"&gt;Under that permitting scheme, the SEO may issue
 a permit authorizing a Denver Basin landowner to construct a
 well only if that landowner demonstrates that the
 nontributary groundwater will be put to a beneficial use.&lt;/span&gt;
&lt;span data-paragraph-id="32110" data-sentence-id="32683" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32463" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_32463" data-refglobal="statute:/co/statutes/37/90/137_1_b_II"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(requiring that permit applicants specify their
 &lt;span class="ldml-quotation quote"&gt;"proposed beneficial use"&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_32463" data-refglobal="statute:/co/statutes/37/90/137_4_a"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-137&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(clarifying that the permit requirements in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_32463" data-refglobal="statute:/co/statutes/37/90/137_1_and_2"&gt;&lt;span class="ldml-cite"&gt;sections
 37-90-137&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; apply to permits for nontributary and
 not-nontributary groundwater)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32959" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32959" data-sentence-id="32970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32970" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; established &lt;span class="ldml-quotation quote"&gt;"a
 clear demarcation between,"&lt;/span&gt; on the one hand, &lt;span class="ldml-quotation quote"&gt;"the
 determination of available water underlying particular
 lands,"&lt;/span&gt; and on the other, &lt;span class="ldml-quotation quote"&gt;"the regulation of its
 withdrawal and use."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32959" data-sentence-id="33211" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_32970"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;E. Cherry Creek&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d
 at 158&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32959" data-sentence-id="33246" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; delegated the latter to the
 SEO, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; directed the SEO to
 apply the anti-

&lt;span class="ldml-pagenumber" data-val="26" data-page_type="bare_number" data-id="pagenumber_33377"&gt;&lt;/span&gt;
 speculation doctrine as part of its permitting process,
 thereby precluding water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; from applying the doctrine
 when adjudicating rights in nontributary groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="32959" data-sentence-id="33550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_33246"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 3.
The Parties' Arguments Concerning East
 Cherry Creek
" data-ordinal_end="3" data-format="number" data-value="3.
 The Parties' Arguments Concerning East
 Cherry Creek" data-ordinal_start="3" data-parsed="true" data-specifier="3" id="heading_33554" data-id="heading_33554"&gt;&lt;span data-paragraph-id="33554" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="33554" data-sentence-id="33565" class="ldml-sentence"&gt;3.&lt;/span&gt;
&lt;/b&gt;&lt;span data-paragraph-id="33554" data-sentence-id="33568" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-entity"&gt;The Parties&lt;/span&gt;' Arguments Concerning&lt;/b&gt; &lt;em class="ldml-emphasis"&gt;East
 Cherry Creek&lt;/em&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="33621" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33621" data-sentence-id="33632" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33632" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Opposers construe &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_33632"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as announcing a
 &lt;span class="ldml-quotation quote"&gt;"limited exception"&lt;/span&gt; to the anti-speculation
 doctrine that applies only to &lt;em class="ldml-emphasis"&gt;determinations of
 rights&lt;/em&gt; in &lt;em class="ldml-emphasis"&gt;nontributary&lt;/em&gt; Denver Basin
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="33621" data-sentence-id="33834" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argue, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_33834"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; has
 no bearing on whether water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may apply the
 anti-speculation doctrine in reviewing an &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-entity"&gt;application to
 amend&lt;/span&gt; an augmentation plan&lt;/em&gt; for &lt;em class="ldml-emphasis"&gt;not-nontributary
 groundwater&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33621" data-sentence-id="34045" class="ldml-sentence"&gt;In the context of such applications,
 Opposers submit that because only the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; can approve
 an augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; thereto)&lt;/span&gt;, application
 of the anti-speculation doctrine cannot be relegated to the
 SEO as it is in the context of a determination of rights in
 nontributary groundwater under &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_34045"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="33621" data-sentence-id="34379" class="ldml-sentence"&gt;Rather, Opposers maintain, only the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has the
 authority to apply the anti-speculation doctrine here because
 only the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has the authority to review an
 augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34571" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34571" data-sentence-id="34582" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34582" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Independence, in contrast, contends that a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; may
 not apply the anti-speculation doctrine to an &lt;span class="ldml-entity"&gt;application to
 amend&lt;/span&gt; an augmentation plan for not-nontributary groundwater
 for three reasons.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="27" data-page_type="bare_number" data-id="pagenumber_34789"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34789" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34789" data-sentence-id="34800" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34800" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, Independence argues that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_34800"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 applies with equal force to determinations of rights in
 &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater because, like
 nontributary groundwater, not-nontributary groundwater is
 allocated on the basis of land ownership for purposes of any
 present or future use.&lt;/span&gt; &lt;span data-paragraph-id="34789" data-sentence-id="35101" class="ldml-sentence"&gt;Accordingly, Independence maintains,
 the same factors that determine the availability of
 nontributary Denver Basin groundwater determine the
 availability of &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="34789" data-sentence-id="35291" class="ldml-sentence"&gt;Those
 factors do not, in Independence's view, include
 compliance with the anti-speculation doctrine.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35394" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35394" data-sentence-id="35405" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35405" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, Independence contends that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 approval of an augmentation plan for not-nontributary
 groundwater &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; thereto)&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;"inexorably
 intertwined"&lt;/span&gt; with the determination-of-rights process.&lt;/span&gt;
&lt;span data-paragraph-id="35394" data-sentence-id="35628" class="ldml-sentence"&gt;Therefore, in Independence's view, because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_35628"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East
 Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; prohibits a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from applying the
 anti-speculation doctrine when reviewing an application for a
 determination of rights in not-nontributary groundwater, the
 reasoning of that decision also prohibits a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from
 applying the doctrine when reviewing an application for an
 augmentation plan for not-nontributary groundwater &lt;span class="ldml-parenthetical"&gt;(or an
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; such a plan)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36074" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36074" data-sentence-id="36085" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36085" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, Independence asserts, separate and apart from
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_36085"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s review
 of an application for an augmentation plan does not implicate
 the anti-speculation doctrine because the only question
 before the water

&lt;span class="ldml-pagenumber" data-val="28" data-page_type="bare_number" data-id="pagenumber_36333"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;court&lt;/span&gt; in such proceedings is whether the augmentation plan
 will result in injury to existing water rights.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 4.
East Cherry Creek Does Not Apply
 Here
" data-ordinal_end="4" data-format="number" data-value="4.
East Cherry Creek Does Not Apply
 Here" data-ordinal_start="4" data-parsed="true" data-specifier="4" id="heading_36442" data-id="heading_36442"&gt;&lt;span data-paragraph-id="36442" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36442" data-sentence-id="36453" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;4.&lt;/b&gt;&lt;/span&gt;
&lt;span data-paragraph-id="36442" data-sentence-id="36456" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt; &lt;b class="ldml-bold"&gt;Does Not Apply
 Here&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="36495" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36495" data-sentence-id="36506" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36506" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To the extent Opposers argue that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_36506"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 does not govern &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree.&lt;/span&gt; &lt;span data-paragraph-id="36495" data-sentence-id="36601" class="ldml-sentence"&gt;As an initial matter,
 &lt;span class="ldml-entity"&gt;the circumstances of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_36601"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; required the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to examine a Denver Basin landowner's
 &lt;em class="ldml-emphasis"&gt;determination of rights&lt;/em&gt; in &lt;em class="ldml-emphasis"&gt;nontributary&lt;/em&gt;
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="36495" data-sentence-id="36782" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_36601"&gt;&lt;span class="ldml-cite"&gt;109 P.3d at 156-57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="36495" data-sentence-id="36802" class="ldml-sentence"&gt;By contrast, the application
 here seeks to &lt;em class="ldml-emphasis"&gt;amend an augmentation plan&lt;/em&gt; for
 &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="36495" data-sentence-id="36908" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_36908"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry
 Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not address whether a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; must apply
 the anti-speculation doctrine to an application for a
 determination of rights in &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt;-nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="36495" data-sentence-id="37091" class="ldml-sentence"&gt;Nor is it necessary for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to reach that
 question because the application here concerns only &lt;span class="ldml-entity"&gt;an
 amendment&lt;/span&gt; to an existing augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37233" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37233" data-sentence-id="37244" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37244" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Relatedly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject Independence's assertion that the
 approval of an augmentation plan for not-nontributary
 groundwater is &lt;span class="ldml-quotation quote"&gt;"inexorably intertwined"&lt;/span&gt; with a
 determination of rights in the water to be augmented.&lt;/span&gt; &lt;span data-paragraph-id="37233" data-sentence-id="37462" class="ldml-sentence"&gt;A
 Denver Basin landowner pursues a determination of rights to
 vest their inchoate rights in Denver Basin groundwater.&lt;/span&gt;
&lt;span data-paragraph-id="37233" data-sentence-id="37582" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_37462"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 157&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_37462"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="37233" data-sentence-id="37625" class="ldml-sentence"&gt;Those applying for an augmentation plan, in contrast, seek
 judicial approval of a plan to divert water out of priority
 to the extent &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can do so without causing injury to
 existing water rights by replacing their out-of-priority
 depletions with water from

&lt;span class="ldml-pagenumber" data-val="29" data-page_type="bare_number" data-id="pagenumber_37889"&gt;&lt;/span&gt;
 a legally available source.&lt;/span&gt; &lt;span data-paragraph-id="37233" data-sentence-id="37919" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_37919"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge Homeowners'
 Ass'n v. Moyer&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 P.3d 1139, 1150&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;em class="ldml-emphasis"&gt;as modified on denial of reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Feb. 11, 2002&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="37233" data-sentence-id="38043" class="ldml-sentence"&gt;Although Denver Basin landowners may not exercise their
 vested rights in not-nontributary groundwater without an
 augmentation plan, nothing precludes them from obtaining a
 determination of rights before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; secure the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s approval of an augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="37233" data-sentence-id="38314" class="ldml-sentence"&gt;Indeed, that is
 precisely what Independence's predecessor-in-interest did
 with respect to the amount of not-nontributary groundwater
 included in the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree for which neither Independence
 nor Independence's predecessor has ever proposed an
 augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38582" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38582" data-sentence-id="38593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38593" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The question &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must answer here is whether the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 erred in declining to apply the anti-speculation doctrine to
 an &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; an augmentation plan for
 not-nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="38582" data-sentence-id="38801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_38801"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did
 not address this question.&lt;/span&gt; &lt;span data-paragraph-id="38582" data-sentence-id="38851" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look elsewhere to
 resolve it.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 B. The
 Water Court Did Not Err in Declining to Apply the
 Anti-Speculation Doctrine to Independence's Application
" data-ordinal_end="2" data-format="upper_case_letters" data-value="B. The
 Water Court Did Not Err in Declining to Apply the
 Anti-Speculation Doctrine to Independence's Application" data-ordinal_start="2" data-parsed="true" data-specifier="B" id="heading_38898" data-id="heading_38898"&gt;&lt;span data-paragraph-id="38898" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38898" data-sentence-id="38909" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="38898" data-sentence-id="38912" class="ldml-sentence"&gt;The
 Water &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; Did Not Err in Declining to Apply the
 Anti-Speculation Doctrine to Independence's Application&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="39024" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39024" data-sentence-id="39035" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39035" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To address Opposers' contention that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 erred in failing to apply the anti-speculation doctrine to
 Independence's application for &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; to its
 augmentation plan, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider the relationship between the
 issues underlying a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s review for compliance
 with the anti-speculation doctrine on the one hand, and the
 issues involved in a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s consideration

&lt;span class="ldml-pagenumber" data-val="30" data-page_type="bare_number" data-id="pagenumber_39436"&gt;&lt;/span&gt;
 of an application for an augmentation plan on the other.&lt;/span&gt; &lt;span data-paragraph-id="39024" data-sentence-id="39495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 conclude that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not err in declining to
 apply the anti-speculation doctrine to Independence's
 &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its augmentation plan in
 not-nontributary groundwater for two reasons: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the
 anti-speculation doctrine and augmentation plans serve
 different purposes, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the only question relevant to a
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s review of an augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an
 amendment&lt;/span&gt; thereto)&lt;/span&gt; is whether the plan will cause injury to
 existing water rights.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 1.
The Anti-Speculation Doctrine and Augmentation Plans Serve
 Different Purposes
" data-ordinal_end="1" data-format="number" data-value="1.
 The Anti-Speculation Doctrine and Augmentation Plans Serve
 Different Purposes" data-ordinal_start="1" data-parsed="true" data-specifier="1" id="heading_39969" data-id="heading_39969"&gt;&lt;span data-paragraph-id="39969" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="39969" data-sentence-id="39980" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;span data-paragraph-id="39969" data-sentence-id="39983" class="ldml-sentence"&gt;The Anti-Speculation Doctrine and Augmentation Plans Serve
 Different Purposes&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="40062" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40062" data-sentence-id="40073" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40073" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At its core, the anti-speculation doctrine precludes a water
 rights applicant from claiming an intent to appropriate water
 &lt;span class="ldml-quotation quote"&gt;"based upon the subsequent speculative sale or transfer
 of the appropriative rights."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40062" data-sentence-id="40290" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888539621" data-vids="888539621" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_40073"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;City of Thornton v.
 Bijou Irrigation Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;926 P.2d 1, 36&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40062" data-sentence-id="40362" class="ldml-sentence"&gt;To
 accomplish this objective, those seeking to appropriate water
 or to change a water right must demonstrate that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have
 &lt;span class="ldml-quotation quote"&gt;"a specific plan and intent to divert, store, or
 otherwise capture, possess, and control a specific quantity
 of water for specific beneficial uses."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40062" data-sentence-id="40640" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40362" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 37-92-103&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_40772,sentence_40362"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High Plains A &amp;M, LLC
 v. Se. Colo. Water Conservancy Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;120 P.3d 710,
 719-21&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;applying the anti-speculation doctrine
 to applications for a change of water right to ensure that
 change proceedings fulfill their &lt;span class="ldml-quotation quote"&gt;"essential
 function"&lt;/span&gt; of &lt;span class="ldml-quotation quote"&gt;"confirm&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; that a valid
 appropriation continues"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_41020,sentence_40362"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vidler&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;594
 P.2d at 568&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that applicants

&lt;span class="ldml-pagenumber" data-val="31" data-page_type="bare_number" data-id="pagenumber_41045"&gt;&lt;/span&gt;
 seeking to appropriate water &lt;span class="ldml-quotation quote"&gt;"must have an intent to
 take the water and put it to beneficial use"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40062" data-sentence-id="41148" class="ldml-sentence"&gt;Thus, the
 purpose of the anti-speculation doctrine is to prevent water
 hoarding for personal profit, thereby preserving water for
 beneficial use within the prior appropriation system.&lt;/span&gt;
&lt;span data-paragraph-id="40062" data-sentence-id="41335" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_41148"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vidler&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;594 P.2d at 568&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41360" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="41360" data-sentence-id="41371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41371" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Unlike the anti-speculation doctrine, which is designed to
 protect the integrity of appropriations within the prior
 appropriation system, augmentation plans exist specifically
 to &lt;span class="ldml-quotation quote"&gt;"allow&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt; a diversion &lt;em class="ldml-emphasis"&gt;outside&lt;/em&gt; of the priority
 system."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="41613" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_41371"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 P.3d at 1155&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_41757,sentence_41371" data-refglobal="case:concerningtheapplicationforwaterrightsinthesouthplatteriveroritstributariesinjefferson,douglas,arapahoeandparkcountiesandthecityandcountyofdenverbuffaloparkdevelopmentcompanyvmountainmutualreservoircompanyno06sa373195p3d674november3,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Buffalo Park Dev. Co. v.
 Mountain Mut. Reservoir Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195 P.3d 674, 685&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that augmentations plans &lt;span class="ldml-quotation quote"&gt;"allow
 diversions in areas where &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would not be possible
 otherwise"&lt;/span&gt; because &lt;span class="ldml-quotation quote"&gt;"unappropriated water is not
 available"&lt;/span&gt; there&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of
 reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Nov. 24, 2008&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="41972" class="ldml-sentence"&gt;To accomplish this,
 augmentation plans describe &lt;span class="ldml-quotation quote"&gt;"a detailed program . . . to
 increase the supply of water available for beneficial
 use"&lt;/span&gt; by, as relevant here, &lt;span class="ldml-quotation quote"&gt;"providing substitute
 supplies of water."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="42176" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_41972" data-refglobal="statute:/co/statutes/37/92/103_9"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="42192" class="ldml-sentence"&gt;The substitute
 supply must offset the applicant's proposed
 out-of-priority depletions in an amount sufficient to prevent
 injury.&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="42324" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42192" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_42192"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 P.3d at 1150&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41360" data-sentence-id="42393" class="ldml-sentence"&gt;Thus, augmentation
 plans offer a method by which to &lt;span class="ldml-quotation quote"&gt;"implement a policy of
 maximum flexibility"&lt;/span&gt; while also &lt;span class="ldml-quotation quote"&gt;"protect&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; the
 constitutional doctrine of prior appropriation."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="41360" data-sentence-id="42570" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_42393"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 P.3d at 1150&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="32" data-page_type="bare_number" data-id="pagenumber_42601"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42601" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42601" data-sentence-id="42612" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42612" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Given the distinct purposes of the anti-speculation doctrine
 and augmentation plans, applying the anti-speculation
 doctrine to applications for such plans &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt;
 thereto)&lt;/span&gt; would make no sense.&lt;/span&gt; &lt;span data-paragraph-id="42601" data-sentence-id="42820" class="ldml-sentence"&gt;Augmentation plans permit
 diversions of water that other users have already
 appropriated by ensuring that a supply sufficient to avoid
 injury to those users is available for replacement purposes,
 thereby protecting existing water rights while advancing
 Colorado's policy of maximum use.&lt;/span&gt; &lt;span data-paragraph-id="42601" data-sentence-id="43112" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42820" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42601" data-sentence-id="43120" class="ldml-sentence"&gt;This
 scheme could not encourage hoarding water &lt;span class="ldml-quotation quote"&gt;"for personal
 profit"&lt;/span&gt; to the exclusion of future users seeking to
 appropriate that water for a beneficial use, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_43120"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vidler&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;594 P.2d at 568&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because the augmented water is not available
 for appropriation in the first place, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_43120" data-refglobal="case:concerningtheapplicationforwaterrightsinthesouthplatteriveroritstributariesinjefferson,douglas,arapahoeandparkcountiesandthecityandcountyofdenverbuffaloparkdevelopmentcompanyvmountainmutualreservoircompanyno06sa373195p3d674november3,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Buffalo Park&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;195 P.3d at 685&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42601" data-sentence-id="43423" class="ldml-sentence"&gt;Nor could an augmentation plan threaten to
 transform an existing appropriative right into a speculative
 right, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_43423"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High Plains&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;120 P.3d at 720&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because
 augmentation plans merely ensure that existing water-rights
 holders can continue to exercise their appropriative rights
 in the water to be augmented &lt;span class="ldml-parenthetical"&gt;(albeit with the replacement
 supply)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42601" data-sentence-id="43765" class="ldml-sentence"&gt;Thus, applying the anti-speculation doctrine to
 applications for an augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;applications to
 amend&lt;/span&gt; such plans)&lt;/span&gt; would not serve the purpose of such plans:
 to accommodate diversions of water outside the priority

&lt;span class="ldml-pagenumber" data-val="33" data-page_type="bare_number" data-id="pagenumber_43993"&gt;&lt;/span&gt;
 system by providing a substitute supply sufficient to prevent
 injury to other appropriators.&lt;/span&gt;&lt;span data-paragraph-id="42601" data-sentence-id="44088" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN7" class="ldml-noteanchor" id="note-ref-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 2. The
 Sole Inquiry in Reviewing an Augmentation Plan Application Is
 Whether the Plan Will Injure Existing Water Rights
" data-ordinal_end="2" data-format="number" data-value="2. The
 Sole Inquiry in Reviewing an Augmentation Plan Application Is
 Whether the Plan Will Injure Existing Water Rights" data-ordinal_start="2" data-parsed="true" data-specifier="2" id="heading_44091" data-id="heading_44091"&gt;&lt;span data-paragraph-id="44091" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44091" data-sentence-id="44102" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="44091" data-sentence-id="44105" class="ldml-sentence"&gt;The
 Sole Inquiry in Reviewing an Augmentation Plan Application Is
 Whether the Plan Will Injure Existing Water Rights&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="44224" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44224" data-sentence-id="44235" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44235" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_44235" data-refglobal="statute:/co/statutes/37/92/305_3_a"&gt;&lt;span class="ldml-cite"&gt;section 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s task in
 reviewing an augmentation plan is to determine whether the
 proposed plan will &lt;span class="ldml-quotation quote"&gt;"injuriously affect"&lt;/span&gt; vested
 water rights or decreed conditional rights.&lt;/span&gt; &lt;span data-paragraph-id="44224" data-sentence-id="44448" class="ldml-sentence"&gt;Performing this
 injury

&lt;span class="ldml-pagenumber" data-val="34" data-page_type="bare_number" data-id="pagenumber_44474"&gt;&lt;/span&gt;
 analysis requires that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"consider the
 depletions from an applicant's use or proposed use of
 water, in quantity and in time, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; the amount and timing
 of augmentation water that would be provided by the
 applicant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44224" data-sentence-id="44708" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_44448" data-refglobal="statute:/co/statutes/37/92/305_8_a"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-305&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44224" data-sentence-id="44727" class="ldml-sentence"&gt;If the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 determines that the proposed augmentation plan will not
 result in injury, it &lt;span class="ldml-quotation quote"&gt;"shall"&lt;/span&gt; approve the plan.&lt;/span&gt;
&lt;span data-paragraph-id="44224" data-sentence-id="44851" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_44727" data-refglobal="statute:/co/statutes/37/92/305_3_a"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895740307" data-vids="895740307" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_44727"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Upper Eagle Reg'l
 Water Auth. v. Simpson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;167 P.3d 729, 735&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[O]&lt;/span&gt;nly if operation of the &lt;span class="ldml-parenthetical"&gt;[augmentation]&lt;/span&gt; plan would
 cause injury . . . does &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; require the water judge
 to deny the plan."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of
 reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 1, 2007&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45139" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45139" data-sentence-id="45150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45150" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The same statutory requirements that govern applications for
 new augmentation plans also govern an application that, like
 Independence's, seeks to amend an existing augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="45139" data-sentence-id="45342" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_45150" data-refglobal="case:coorsbrewingcovcityofgolden,2018co63"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Coors Brewing Co. v. City of Golden&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO
 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45150" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; n.1, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895806533" data-vids="895806533" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_45425"&gt;&lt;span class="ldml-cite"&gt;420 P.3d 977, 984 n.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that
 &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt; to an augmentation plan &lt;span class="ldml-quotation quote"&gt;"must, at a minimum,
 comply with the requirements of both &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;subsections
 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;, and &lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and our case precedents"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;cf.&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886163563" data-vids="886163563" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_45686"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Crystal Lakes Water &amp;Sewer Ass'n v.
 Backlund&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;908 P.2d 534, 542&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt;
 that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; have the authority to &lt;span class="ldml-quotation quote"&gt;"define the
 scope"&lt;/span&gt; of an augmentation plan and otherwise
 &lt;span class="ldml-quotation quote"&gt;"adjust such a plan upon reconsideration"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="45139" data-sentence-id="45841" class="ldml-sentence"&gt;Similarly, augmentation plans for not-nontributary
 groundwater must generally satisfy the same statutory
 criteria as

&lt;span class="ldml-pagenumber" data-val="35" data-page_type="bare_number" data-id="pagenumber_45962"&gt;&lt;/span&gt;
 augmentation plans for tributary water.&lt;/span&gt;&lt;span data-paragraph-id="45139" data-sentence-id="46003" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN8" class="ldml-noteanchor" id="note-ref-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45841" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-parenthetical"&gt;(requiring that augmentation
 plans permitting the use of not-nontributary groundwater
 &lt;span class="ldml-quotation quote"&gt;"meet all other statutory criteria"&lt;/span&gt; associated with
 augmentation plans)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895687784" data-vids="895687784" class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_46239"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Danielson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;791 P.2d at
 1113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he General Assembly, by using the term
 &lt;span class="ldml-quotation quote"&gt;'plans for augmentation'&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-refglobal="statute:/co/statutes/37/90/137_9_c"&gt;&lt;span class="ldml-cite"&gt;section
 37&lt;b class="ldml-bold"&gt;-&lt;/b&gt;90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[later renumbered &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-refglobal="statute:/co/statutes/37/90/137_9"&gt;&lt;span class="ldml-cite"&gt;section
 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;]&lt;/span&gt;, intended that the term carry the same
 meaning in that subsection as elsewhere in &lt;span class="ldml-entity"&gt;the statutes&lt;/span&gt;
 governing water resources."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46509" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46509" data-sentence-id="46520" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46520" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_46520" data-refglobal="statute:/co/statutes/37/92/305_3_a"&gt;&lt;span class="ldml-cite"&gt;section 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; asked to
 approve an application for an augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an
 amendment&lt;/span&gt; thereto)&lt;/span&gt; is concerned with a single question,
 regardless of the type of water to be augmented: whether the
 proposed plan will result in injury to vested water rights or
 decreed conditional

&lt;span class="ldml-pagenumber" data-val="36" data-page_type="bare_number" data-id="pagenumber_46848"&gt;&lt;/span&gt;
 rights.&lt;/span&gt;&lt;span data-paragraph-id="46509" data-sentence-id="46857" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN9" class="ldml-noteanchor" id="note-ref-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Though answering this question may require
 the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to consider multiple factors, its focus
 remains the same: &lt;span class="ldml-quotation quote"&gt;"to ascertain whether vested water
 rights will sustain injury."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46509" data-sentence-id="47044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895740307" data-vids="895740307" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_46857"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Upper Eagle Reg'l
 Water Auth.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;167 P.3d at 735&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47093" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47093" data-sentence-id="47104" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47104" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For example, an applicant for an augmentation plan may need
 to estimate the &lt;span class="ldml-quotation quote"&gt;"time, amount, and location of return
 flows"&lt;/span&gt; associated with its proposed out-of-priority
 diversions if the applicant plans to rely on return flows to
 ensure that water is available in the quantity and at the
 time necessary to prevent injury.&lt;/span&gt; &lt;span data-paragraph-id="47093" data-sentence-id="47433" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892142617" data-vids="892142617" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_47433"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Farmer's Reservoir
 &amp;Irrigation Co. v. Consol. Mut. Water Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;33 P.3d
 799, 808 &amp;n.6&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of
 reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Nov. 13, 2001&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47093" data-sentence-id="47582" class="ldml-sentence"&gt;To estimate return flows

&lt;span class="ldml-pagenumber" data-val="37" data-page_type="bare_number" data-id="pagenumber_47609"&gt;&lt;/span&gt;
 with the degree of certainty that this injury analysis
 requires, the applicant must put forward proposed beneficial
 uses of the augmented water, consistent with the statutory
 definition of augmentation plans.&lt;/span&gt; &lt;span data-paragraph-id="47093" data-sentence-id="47823" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_47582" data-refglobal="statute:/co/statutes/37/92/103_9"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(defining an augmentation plan as a &lt;span class="ldml-quotation quote"&gt;"detailed program .
 . . to increase the supply of water available for beneficial
 use"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47093" data-sentence-id="47964" class="ldml-sentence"&gt;Thus, a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; could not approve an
 augmentation plan if the applicant entirely failed to
 identify any proposed beneficial use but then purported to
 rely exclusively on return flows as a substitute supply for
 replacing depletions.&lt;/span&gt; &lt;span data-paragraph-id="47093" data-sentence-id="48204" class="ldml-sentence"&gt;This is because, in such a scenario,
 the applicant would have failed to &lt;span class="ldml-quotation quote"&gt;"identify the sources
 and character of the substitute supplies with
 certainty,"&lt;/span&gt; creating an intolerable risk of injury.&lt;/span&gt;
&lt;span data-paragraph-id="47093" data-sentence-id="48399" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888937309" data-vids="888937309" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_48204"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Centennial Water &amp;Sanitation Dist. v. City &amp;Cnty.
 of Broomfield&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;256 P.3d 677, 683&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see
 also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_48538,sentence_48204" data-refglobal="case:concerningtheapplicationforwaterrightsinthesouthplatteriveroritstributariesinjefferson,douglas,arapahoeandparkcountiesandthecityandcountyofdenverbuffaloparkdevelopmentcompanyvmountainmutualreservoircompanyno06sa373195p3d674november3,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Buffalo Park&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195 P.3d at 684&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that
 applicants &lt;span class="ldml-quotation quote"&gt;"must first establish . . . the availability
 of replacement water"&lt;/span&gt; before demonstrating that their
 proposed depletions will not cause injury &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893235523" data-vids="893235523" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_48204"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;City
 of Aurora ex rel. Util. Enter. v. Colo. State Eng'r&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;105 P.3d 595, 615&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_48892,sentence_48204" data-refglobal="case:concerningtheapplicationforwaterrightsofmidwayranchespropertyownersassociation,incinelpasoandpueblocountiesralphrwilliamsvmidwayranchespropertyownersassociation,incno96sa369938p2d515june2,1997"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Williams v. Midway
 Ranches Prop. Owners Ass'n&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;938 P.2d 515, 522&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"An essential component of an augmentation plan
 is the provision for adequate replacement water."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_49060,sentence_48204" data-refglobal="case:weibertvrothebrothers,incno79sa399618p2d1367,200colo310aug5,1980"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weibert v. Rothe Brothers, Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;618 P.2d 1367, 1373&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"In order to determine the adequacy of the
 &lt;span class="ldml-parenthetical"&gt;[augmentation]&lt;/span&gt; plan to accomplish its intended purpose, it is
 necessary to consider the adequacy of the replacement water
 rights."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="38" data-page_type="bare_number" data-id="pagenumber_49239"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="49239" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49239" data-sentence-id="49250" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49250" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But the fact that an augmentation plan applicant may propose
 specific beneficial uses for its augmented water to prove
 that the plan will not result in injury does not mean that
 the applicant must demonstrate an intent to put that
 augmented water to those beneficial uses, as the
 anti-speculation doctrine requires.&lt;/span&gt; &lt;span data-paragraph-id="49239" data-sentence-id="49576" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="embeddedsentence_49600,sentence_49250" data-refglobal="statute:/co/statutes/37/92/103_3_a_II"&gt;&lt;span class="ldml-cite"&gt;§
 37-92-103&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;requiring &lt;span class="ldml-quotation quote"&gt;"a specific plan and
 intent to divert, store, or otherwise capture, possess, and
 control a &lt;em class="ldml-emphasis"&gt;specific quantity&lt;/em&gt; of water for
 &lt;em class="ldml-emphasis"&gt;specific beneficial uses"&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_49250"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vidler&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;594 P.2d at 568-69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_49250"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High
 Plains&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;120 P.3d at 720&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49239" data-sentence-id="49848" class="ldml-sentence"&gt;Rather, applicants need only
 show that if the beneficial use of their augmented water
 changes, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; will still have sufficient supplies of
 replacement water to prevent injury.&lt;/span&gt; &lt;span data-paragraph-id="49239" data-sentence-id="50027" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892142617" data-vids="892142617" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_49848"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Farmer's
 Reservoir &amp;Irrigation Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;33 P.3d at 808 n.6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49239" data-sentence-id="50084" class="ldml-sentence"&gt;Thus,
 &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; governing augmentation plans tolerates
 some degree of uncertainty in the future operation of the
 plan to &lt;span class="ldml-quotation quote"&gt;"implement a policy of maximum flexibility that
 also protect&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; the constitutional doctrine of prior
 appropriation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49239" data-sentence-id="50338" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_50084"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39 P.3d at 1150&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50369" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50369" data-sentence-id="50380" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50380" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Indeed, a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; decree approving an augmentation plan
 represents no more than a &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;prediction&lt;/em&gt; of how
 the plan can operate"&lt;/span&gt; to permit out-of-priority
 diversions &lt;span class="ldml-quotation quote"&gt;"without causing injury to existing water
 rights."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50369" data-sentence-id="50604" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;Well &lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_50604" data-refglobal="case:augmentationsubdistrictofcentcolowaterconservancydistvcentennialwatersanitationdist,2019co12"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Augmentation Subdistrict of Cent.
 Colo. Water Conservancy Dist. v. Centennial Water
 &amp;Sanitation Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50604" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894925092" data-vids="894925092" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_50604"&gt;&lt;span class="ldml-cite"&gt;435 P.3d
 469, 472&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50369" data-sentence-id="50769" class="ldml-sentence"&gt;Approving a &lt;span class="ldml-quotation quote"&gt;"prediction"&lt;/span&gt;
 of how an augmentation plan will operate does not require the
 water

&lt;span class="ldml-pagenumber" data-val="39" data-page_type="bare_number" data-id="pagenumber_50866"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;court&lt;/span&gt; to consider the applicant's intent to execute that
 plan.&lt;/span&gt; &lt;span data-paragraph-id="50369" data-sentence-id="50931" class="ldml-sentence"&gt;The &lt;span class="ldml-quotation quote"&gt;"prediction"&lt;/span&gt; remains valid regardless of
 when the decree-holder begins to operate the plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51028" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51028" data-sentence-id="51039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51039" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not err
 in declining to apply the anti-speculation doctrine to
 Independence's &lt;span class="ldml-entity"&gt;application to amend&lt;/span&gt; its augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="51028" data-sentence-id="51221" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; need only review the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 determination that Independence's amended augmentation
 plan will not result in injury.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 C.
Independence's Proposed Augmentation Plan, as Amended,
 Will Not Result in Injury
" data-ordinal_end="3" data-format="upper_case_letters" data-value="C.
 Independence's Proposed Augmentation Plan, as Amended,
 Will Not Result in Injury" data-ordinal_start="3" data-parsed="true" data-specifier="C" id="heading_51359" data-id="heading_51359"&gt;&lt;span data-paragraph-id="51359" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="51359" data-sentence-id="51370" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="51359" data-sentence-id="51373" class="ldml-sentence"&gt;Independence's Proposed Augmentation Plan, as Amended,
 Will Not Result in Injury&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="51455" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51455" data-sentence-id="51466" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51466" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; found that Independence's amended
 augmentation plan &lt;span class="ldml-quotation quote"&gt;"will not injuriously affect the owner
 of or persons entitled to use water under a vested water
 right or a decreed conditional water right."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51455" data-sentence-id="51683" class="ldml-sentence"&gt;Final
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51683" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51455" data-sentence-id="51704" class="ldml-sentence"&gt;Opposers have not contested this finding.&lt;/span&gt; &lt;span data-paragraph-id="51455" data-sentence-id="51746" class="ldml-sentence"&gt;And
 even if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no basis for characterizing the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s finding as clearly erroneous.&lt;/span&gt;
&lt;span data-paragraph-id="51455" data-sentence-id="51858" class="ldml-sentence"&gt;Independence's application estimates that its return
 flows from irrigation alone will equal almost four times its
 estimated actual depletions.&lt;/span&gt; &lt;span data-paragraph-id="51455" data-sentence-id="52003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51858" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 2-3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51455" data-sentence-id="52015" class="ldml-sentence"&gt;And even if
 Independence's return flows ultimately prove inadequate,
 the augmentation plan requires that Independence use its
 abundant nontributary groundwater to replace all depletions.&lt;/span&gt;
&lt;span data-paragraph-id="51455" data-sentence-id="52205" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52015" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52215" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52215" data-sentence-id="52226" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52226" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the water &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s conclusion&lt;/span&gt; that
 Independence's amended augmentation plan will not result
 in injury to existing water rights.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="40" data-page_type="bare_number" data-id="pagenumber_52381"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="
 IV.
Conclusion
" data-confidences="very_high" data-ordinal_end="4" data-format="upper_case_roman_numeral" data-value="IV.
 Conclusion" data-ordinal_start="4" data-parsed="true" data-specifier="IV" id="heading_52381" data-types="conclusion" data-id="heading_52381"&gt;&lt;span data-paragraph-id="52381" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="52381" data-sentence-id="52392" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="52381" data-sentence-id="52396" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="52407" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52407" data-sentence-id="52418" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52418" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The anti-speculation doctrine requires that potential
 appropriators demonstrate an intent to put the water rights
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; seek to a beneficial use, thereby preventing those who
 seek to hold such rights only for potential future profit
 from obtaining a use right.&lt;/span&gt; &lt;span data-paragraph-id="52407" data-sentence-id="52687" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_52418"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d
 at 78-79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52407" data-sentence-id="52722" class="ldml-sentence"&gt;Accordingly, potential appropriators must present a
 &lt;em class="ldml-emphasis"&gt;specific&lt;/em&gt; plan and intent to divert a
 &lt;em class="ldml-emphasis"&gt;specific&lt;/em&gt; quantity of water for &lt;em class="ldml-emphasis"&gt;specific&lt;/em&gt;
 beneficial uses.&lt;/span&gt; &lt;span data-paragraph-id="52407" data-sentence-id="52871" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_52722" data-refglobal="statute:/co/statutes/37/92/103_3_a_II"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52407" data-sentence-id="52894" class="ldml-sentence"&gt;This requirement
 protects the integrity of the prior appropriation system by
 reinforcing the constitutional guarantee of &lt;span class="ldml-quotation quote"&gt;"a right to
 appropriate, not a right to speculate."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52407" data-sentence-id="53070" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886840557" data-vids="886840557" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_52894"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vidler&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;594 P.2d at 568&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53096" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53096" data-sentence-id="53107" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53107" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In contrast, an augmentation plan is merely a tool designed
 to increase the amount of water available for &lt;em class="ldml-emphasis"&gt;some&lt;/em&gt;
 beneficial use at &lt;em class="ldml-emphasis"&gt;some point&lt;/em&gt; in time without causing
 injury to vested water rights or conditional decreed rights.&lt;/span&gt;
&lt;span data-paragraph-id="53096" data-sentence-id="53340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_53107" data-refglobal="statute:/co/statutes/37/92/103_9"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53096" data-sentence-id="53356" class="ldml-sentence"&gt;Judicial approval of a proposed
 augmentation plan &lt;span class="ldml-parenthetical"&gt;(or &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; thereto)&lt;/span&gt; may require the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to consider multiple factors-such as the quantity
 and timing of depletions, the amount of likely return flows,
 and the beneficial uses for the augmented water-to the extent
 necessary to confirm that the proposal will not result in
 injury.&lt;/span&gt; &lt;span data-paragraph-id="53096" data-sentence-id="53705" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53356" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;, -305&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895740307" data-vids="895740307" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_53356"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Upper
 Eagle Reg'l Water Auth.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;167 P.3d at 735&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53096" data-sentence-id="53783" class="ldml-sentence"&gt;This
 injury inquiry does not require a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to ascertain an
 augmentation plan applicant's specific intent with
 respect to the use of the water

&lt;span class="ldml-pagenumber" data-val="41" data-page_type="bare_number" data-id="pagenumber_53938"&gt;&lt;/span&gt;
 to be augmented.&lt;/span&gt; &lt;span data-paragraph-id="53096" data-sentence-id="53957" class="ldml-sentence"&gt;Rather, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; need only determine
 whether the applicant's plan, as proposed, will prevent
 injury.&lt;/span&gt; &lt;span data-paragraph-id="53096" data-sentence-id="54067" class="ldml-sentence"&gt;That is precisely what the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did here.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54116" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54116" data-sentence-id="54127" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54127" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no clear error in the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s finding that Independence's amended
 augmentation plan will not result in injury, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s judgment and decree.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="42" data-page_type="bare_number" data-id="pagenumber_54334"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="54334" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Concurring Opinion (GABRIEL)"&gt;&lt;span data-paragraph-id="54334" data-sentence-id="54347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;concurring in the judgment&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54392" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54392" data-sentence-id="54403" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54403" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority holds that the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not err in
 declining to apply the anti-speculation doctrine to
 &lt;span class="ldml-entity"&gt;Independence Water and Sanitation District&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;application
 to amend&lt;/span&gt; its augmentation plan for not-nontributary
 groundwater.&lt;/span&gt; &lt;span data-paragraph-id="54392" data-sentence-id="54641" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54403" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54392" data-sentence-id="54655" class="ldml-sentence"&gt;The majority principally
 bases this conclusion on its view that the anti-speculation
 doctrine and augmentation plans serve different purposes and,
 therefore, it makes no sense for a water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to apply the
 anti-speculation doctrine in connection with its review of an
 &lt;span class="ldml-entity"&gt;application to obtain&lt;/span&gt; or &lt;span class="ldml-entity"&gt;amend&lt;/span&gt; an augmentation plan.&lt;/span&gt;
&lt;span data-paragraph-id="54392" data-sentence-id="54982" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54655" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54392" data-sentence-id="54995" class="ldml-sentence"&gt;On this basis, the majority
 affirms the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s judgment and decree.&lt;/span&gt;
&lt;span data-paragraph-id="54392" data-sentence-id="55071" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54995" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55084" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55084" data-sentence-id="55095" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55095" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Although I agree with the majority's ultimate conclusion,
 I cannot agree with its reasoning.&lt;/span&gt; &lt;span data-paragraph-id="55084" data-sentence-id="55194" class="ldml-sentence"&gt;Accordingly, I
 respectfully concur in the judgment, only.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55253" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="55253" data-sentence-id="55264" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="55253" data-sentence-id="55267" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55276" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55276" data-sentence-id="55287" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55287" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 No &lt;span class="ldml-entity"&gt;party&lt;/span&gt; in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; has argued that the anti-speculation
 doctrine never applies to an &lt;span class="ldml-entity"&gt;application to obtain&lt;/span&gt; or &lt;span class="ldml-entity"&gt;amend&lt;/span&gt;
 an augmentation plan, as the majority now effectively holds.&lt;/span&gt;
&lt;span data-paragraph-id="55276" data-sentence-id="55474" class="ldml-sentence"&gt;Accordingly, I do not believe that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; have been
 given a full and fair opportunity to be heard on that
 question.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55597" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55597" data-sentence-id="55608" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55608" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nor did the water &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; rule&lt;/span&gt; on the broad ground on which the
 majority bases its ruling.&lt;/span&gt; &lt;span data-paragraph-id="55597" data-sentence-id="55703" class="ldml-sentence"&gt;Rather, relying on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_55703"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;East Cherry
 Creek Valley Water &amp;Sanitation District v. Rangeview
 Metropolitan District&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;109 P.3d 154, 157-58&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the

&lt;span class="ldml-pagenumber" data-val="43" data-page_type="bare_number" data-id="pagenumber_55853"&gt;&lt;/span&gt;
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; began with the apparently undisputed premise that
 because a landowner has the statutory right to adjudicate the
 right to use Denver Basin nontributary, nondesignated
 groundwater for future, undetermined uses, the
 anti-speculation doctrine does not apply to adjudications of
 that right.&lt;/span&gt; &lt;span data-paragraph-id="55597" data-sentence-id="56158" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then observed that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; recognized in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_56158"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colorado Ground Water Commission v. North Kiowa-Bijou
 Groundwater Management District&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d 62, 74&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that Denver Basin groundwater located outside of a
 designated basin that is partially tributary because it does
 not satisfy the definition of Denver Basin nontributary
 groundwater &lt;span class="ldml-parenthetical"&gt;(i.e., not-nontributary groundwater)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall
 nevertheless be administered on the basis of land ownership
 as if it were nontributary, provided its use is
 augmented."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="55597" data-sentence-id="56672" class="ldml-sentence"&gt;Accordingly, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; concluded that
 for the same reasons that the anti-speculation doctrine is
 inapplicable to adjudications of Denver Basin nontributary,
 nondesignated groundwater, that doctrine is inapplicable to
 adjudications of the not-nontributary groundwater at issue
 here, which, by definition, is nondesignated Denver Basin
 groundwater subject to the same separate water use system
 that applies to nontributary groundwater.&lt;/span&gt; &lt;span data-paragraph-id="55597" data-sentence-id="57119" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(In reaching this
 conclusion, the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not rely solely on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="embeddedsentence_57119"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East
 Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, as the majority seems to suggest.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶¶ 4, 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Rather, it so concluded by reading
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887125559" data-vids="887125559" class="ldml-reference" data-reftype="citeless" data-prop-ids="embeddedsentence_57262"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;East Cherry Creek&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; together with &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="citeless" data-prop-ids="embeddedsentence_57262"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;North
 Kiowa-Bijou Groundwater Management District&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="44" data-page_type="bare_number" data-id="pagenumber_57383"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="57383" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="57383" data-sentence-id="57394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57394" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Having thus decided that the not-nontributary groundwater at
 issue should be treated like Denver Basin nontributary water,
 the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; turned to the narrow issue presented and
 observed that Independence had already obtained water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 approval to use not-nontributary Upper Dawson groundwater for
 certain decreed uses and therefore had a vested right to do
 so.&lt;/span&gt; &lt;span data-paragraph-id="57383" data-sentence-id="57771" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; viewed the only question before it as
 concerning the changes required to the augmentation plan to
 avoid injury to out-of-priority depletions that Independence
 would cause when it used its not-nontributary Upper Dawson
 groundwater for the decreed purposes.&lt;/span&gt; &lt;span data-paragraph-id="57383" data-sentence-id="58047" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded, as a matter of law, that the
 anti-speculation doctrine did not apply to Independence's
 &lt;span class="ldml-entity"&gt;request to add&lt;/span&gt; previously adjudicated uses to the
 augmentation plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58252" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58252" data-sentence-id="58263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58263" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In light of the foregoing, unlike the majority, I perceive no
 reason to adopt a broad rule, which neither &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; nor
 the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; below advanced, that the anti-speculation
 doctrine never applies to an &lt;span class="ldml-entity"&gt;application to obtain&lt;/span&gt; or &lt;span class="ldml-entity"&gt;amend&lt;/span&gt;
 an augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="58252" data-sentence-id="58534" class="ldml-sentence"&gt;Rather, I would simply follow the water
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s narrower reasoning, which I believe is well
 supported by our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58655" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58655" data-sentence-id="58666" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58666" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I believe that the foregoing analysis is more in line with
 the arguments that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; actually presented to &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58655" data-sentence-id="58788" class="ldml-sentence"&gt;It
 is also more consistent with long-settled principles of
 judicial restraint, which dictate that &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; should decide
 only the issues necessary to resolve &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; before them-no
 more and no less.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="45" data-page_type="bare_number" data-id="pagenumber_58991"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier_italics" data-value="IL
 Conclusion" data-content-heading-label="
 IL
 Conclusion
" data-confidences="high" data-specifier="" id="heading_58991" data-types="conclusion" data-id="heading_58991"&gt;&lt;span data-paragraph-id="58991" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58991" data-sentence-id="59002" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;IL
 Conclusion&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="59017" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59017" data-sentence-id="59028" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59028" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, I respectfully concur in the judgment,
 only.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="59098" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="59098" data-sentence-id="59099" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="59109" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="59109" data-sentence-id="59110" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The Denver Basin encompasses those
 portions of the Dawson &lt;span class="ldml-parenthetical"&gt;(including the Upper and Lower
 portions)&lt;/span&gt;, Denver, Arapahoe, and &lt;span class="ldml-entity"&gt;Laramie-Fox Hills&lt;/span&gt; aquifers
 that underlie an approximately 6,700-square-mile region
 &lt;span class="ldml-quotation quote"&gt;"stretching from Greeley on the north, Colorado Springs
 on the south, the front-range hogback on the west, and Limon
 on the east."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="59109" data-sentence-id="59455" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_59110" data-refglobal="case:parkerwaterandsanitationdistrictvreinno23sa1412024co71november4,2024"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Parker Water &amp; Sanitation Dist. v.
 Rein&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2024 CO 71M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59110" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:559p3d217,223"&gt;&lt;span class="ldml-cite"&gt;559 P.3d 217, 223&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Colo. Ground Water Comm'n v. N. Kiowa-Bijou
 Groundwater Mgmt. Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d 62, 72&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="59643" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="59643" data-sentence-id="59644" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"Nontributary groundwater"&lt;/span&gt;
 refers to groundwater &lt;span class="ldml-quotation quote"&gt;"the withdrawal of which will not,
 within one hundred years of continuous withdrawal, deplete
 the flow of a natural stream . . . at an annual rate greater
 than one-tenth of one percent of the annual rate of
 withdrawal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="59921" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59644" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="59643" data-sentence-id="59955" class="ldml-sentence"&gt;Not-nontributary groundwater, by contrast, describes
 groundwater in the Denver Basin &lt;span class="ldml-quotation quote"&gt;"the withdrawal of which
 &lt;em class="ldml-emphasis"&gt;will&lt;/em&gt;, within one hundred years, deplete the flow of
 a natural stream . . . at an annual rate of greater than
 one-tenth of one percent of the annual rate of
 withdrawal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="60239" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59955" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891835534" data-vids="891835534" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_59955"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Water Rts. of Park Cnty. Sportsmen's Ranch
 LLP v. Bargas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d 262, 274-75&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(clarifying that not-nontributary groundwater exists only in
 the Denver Basin)&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;as modified on denial of
 reh'g&lt;/em&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 4, 1999&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="60506" class="ldml-sentence"&gt;Both nontributary and
 not-nontributary groundwater are, by definition,
 nondesignated groundwater.&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="60606" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_60506" data-refglobal="statute:/co/statutes/37/90/103_10.5_10.7"&gt;&lt;span class="ldml-cite"&gt;§ 37-90-103&lt;span class="ldml-parenthetical"&gt;(10.5)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(10.7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="59643" data-sentence-id="60633" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Designated groundwater"&lt;/span&gt; is groundwater that
 &lt;span class="ldml-quotation quote"&gt;"in its natural course would not be available to and
 required for the fulfillment of decreed surface rights"&lt;/span&gt;
 or that is located &lt;span class="ldml-quotation quote"&gt;"in areas not adjacent to a
 continuously flowing natural stream"&lt;/span&gt; where groundwater
 is the &lt;span class="ldml-quotation quote"&gt;"principal"&lt;/span&gt; water source.&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="60927" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_60633" data-refglobal="statute:/co/statutes/37/90/103_6_a"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-103&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59643" data-sentence-id="60947" class="ldml-sentence"&gt;Though designated groundwater exists in the
 Denver Basin, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893443747" data-vids="893443747" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_60947"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;N. Kiowa-Bijou&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;77 P.3d at 77-78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 none of the groundwater at issue here is designated.&lt;/span&gt;
&lt;span data-paragraph-id="59643" data-sentence-id="61098" class="ldml-sentence"&gt;Therefore, our discussions of groundwater in this opinion
 refer to nondesignated groundwater, unless otherwise
 stated.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="61219" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="61219" data-sentence-id="61220" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; To the extent the Final Decree implied
 that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may not apply the antispeculation doctrine
 when determining a Denver Basin landowner's rights in
 not-nontributary groundwater, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; express no opinion on that
 issue.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="61448" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="61448" data-sentence-id="61449" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree does not mention
 municipal use, either in the list of decreed uses or in the
 augmentation plan.&lt;/span&gt; &lt;span data-paragraph-id="61448" data-sentence-id="61566" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61449" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;2006 Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 2, 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61448" data-sentence-id="61592" class="ldml-sentence"&gt;The
 water &lt;span class="ldml-entity"&gt;court&lt;/span&gt; assumed that Independence's application
 either erroneously included municipal uses, or that
 Independence had withdrawn that aspect of its proposal.&lt;/span&gt;
&lt;span data-paragraph-id="61448" data-sentence-id="61759" class="ldml-sentence"&gt;However, Independence's answer brief before &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;
 clarifies that its application sought to add municipal use to
 both its list of decreed uses and its augmentation plan.&lt;/span&gt;
&lt;span data-paragraph-id="61448" data-sentence-id="61935" class="ldml-sentence"&gt;Nevertheless, the Final Decree includes municipal use only in
 the amended augmentation plan; it does not add municipal use
 to the list of decreed uses.&lt;/span&gt; &lt;span data-paragraph-id="61448" data-sentence-id="62089" class="ldml-sentence"&gt;Final &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62089" data-reftype="at_page"&gt;&lt;span class="ldml-refname"&gt;Decree&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 1-2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61448" data-sentence-id="62111" class="ldml-sentence"&gt;Opposers
 do not argue that the absence of municipal use from
 Independence's list of decreed uses precludes
 Independence from putting its not-nontributary groundwater to
 municipal use in accordance with its amended augmentation
 plan.&lt;/span&gt; &lt;span data-paragraph-id="61448" data-sentence-id="62349" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not consider this question
 here.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="62400" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="62400" data-sentence-id="62401" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Specifically, Independence predicted
 that it would need 0.84 acre-feet per year to serve a future
 community clubhouse, representing both a municipal and a
 commercial use.&lt;/span&gt; &lt;span data-paragraph-id="62400" data-sentence-id="62578" class="ldml-sentence"&gt;In addition, it estimated that it would need
 7.59 acre-feet per year for irrigation, which it listed as a
 municipal use.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="62701" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="62701" data-sentence-id="62702" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN6" class="ldml-notemarker" id="note-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Opposers have not challenged the
 in-house, irrigation, augmentation, or exchange uses to the
 extent that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were already covered by the augmentation
 plan as approved under the &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; Decree.&lt;/span&gt; &lt;span data-paragraph-id="62701" data-sentence-id="62899" class="ldml-sentence"&gt;Nor have &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 challenged the addition of municipal or commercial uses to
 the extent that Independence's discovery responses
 detailed a specific plan with respect to those uses.&lt;/span&gt; &lt;span data-paragraph-id="62701" data-sentence-id="63079" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt;
 also have not challenged Independence's proposal to add a
 fire protection use.&lt;/span&gt; &lt;span data-paragraph-id="62701" data-sentence-id="63165" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concerns only
 Independence's proposal to add domestic, industrial, and
 stock-watering uses to its existing augmentation plan, as
 well as any use of augmented water off the Subject
 Property.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="63382" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="63382" data-sentence-id="63383" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN7" class="ldml-notemarker" id="note-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Our conclusion is consistent with
 proceedings that involve augmentation plans in the tributary
 context.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="63492" class="ldml-sentence"&gt;For example, applicants for a conditional water
 right in tributary water that would injure senior
 appropriators may not receive a decree &lt;span class="ldml-quotation quote"&gt;"except in
 conjunction with a plan for augmentation assuring enough
 available water to exercise the right."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="63741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_63492" data-refglobal="case:foxvthedivisionengineerforwaterdivision5no90sa120810p2d644may6,1991"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Fox v. Div.
 Eng'r for Water Div. 5&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;810 P.2d 644, 645&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="63810" class="ldml-sentence"&gt;In those circumstances, applicants must comply with
 the antispeculation doctrine because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are seeking a
 conditional water right.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="63945" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;E.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888539621" data-vids="888539621" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_63810"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;City of
 Thornton&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;926 P.2d at 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="63986" class="ldml-sentence"&gt;In contrast, such applicants
 must secure approval of an augmentation plan to prevent
 injury that would otherwise result from exercising their
 conditional rights.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="64151" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890478811" data-vids="890478811" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_63986"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lionelle v. Se. Colo. Water
 Conservancy Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;676 P.2d 1162, 1168&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that conditional water rights applicants could not
 receive a decree until &lt;span class="ldml-entity"&gt;they&lt;/span&gt; applied for an augmentation plan
 because exercising their proposed conditional water right
 would result in injury)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="64443" class="ldml-sentence"&gt;Similarly, because augmentation plan
 applicants must show that their source of replacement water
 is &lt;span class="ldml-quotation quote"&gt;"legally available,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890367432" data-vids="890367432" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_64443"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Empire Lodge&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;39
 P.3d at 1150&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, applicants planning to use replacement water
 that is subject to the anti-speculation doctrine would have
 had to comply with that doctrine as part of applying for a
 determination of rights in the replacement water, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_64443" data-refglobal="case:concerningtheapplicationforwaterrightsofmidwayranchespropertyownersassociation,incinelpasoandpueblocountiesralphrwilliamsvmidwayranchespropertyownersassociation,incno96sa369938p2d515june2,1997"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Williams v. Midway Ranches Prop. Owners Ass'n&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;938
 P.2d 515, 522&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that replacement water may
 include &lt;span class="ldml-quotation quote"&gt;"tributary native water which has been
 quantified by historic beneficial use"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63382" data-sentence-id="65023" class="ldml-sentence"&gt;Thus,
 antispeculation concerns underlying determinations of rights
 are separate and distinct from the injury concerns underlying
 augmentation plans associated with those rights.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="65204" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="65204" data-sentence-id="65205" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN8" class="ldml-notemarker" id="note-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The sole distinction between
 augmentation plans for tributary water and augmentation plans
 for not-nontributary groundwater lies in how augmentation
 plan applicants determine the amount of replacement water
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must provide.&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="65438" class="ldml-sentence"&gt;Tributary water users must determine, on &lt;span class="ldml-entity"&gt;a
 case&lt;/span&gt;-by-case basis, the amount of replacement water necessary
 to prevent injury.&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="65564" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_65438" data-refglobal="case:concerningtheapplicationforwaterrightsinthesouthplatteriveroritstributariesinjefferson,douglas,arapahoeandparkcountiesandthecityandcountyofdenverbuffaloparkdevelopmentcompanyvmountainmutualreservoircompanyno06sa373195p3d674november3,2008"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Buffalo Park&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;195 P.3d at
 684-85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="65603" class="ldml-sentence"&gt;Not-nontributary water users, on the other hand, must
 follow specific statutory requirements that determine the
 amount of replacement water &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must make available based on
 &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the aquifer from which the groundwater will be withdrawn,
 and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; for some aquifers, the distance between the point of
 withdrawal and a contact with a natural stream.&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="65953" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_65603" data-refglobal="statute:/co/statutes/37/90/137_9"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="65978" class="ldml-sentence"&gt;All of Independence's potential
 not-nontributary wells would withdraw groundwater from the
 Upper Dawson aquifer, where &lt;span class="ldml-quotation quote"&gt;"decrees approving plans for
 augmentation must provide for the replacement of actual
 out-of-priority depletions to the stream."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65204" data-sentence-id="66229" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_65978" data-refglobal="statute:/co/statutes/37/90/137_9"&gt;&lt;span class="ldml-cite"&gt;§
 37-90-137&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c.5)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="66257" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="66257" data-sentence-id="66258" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN9" class="ldml-notemarker" id="note-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Like augmentation plans, change
 applications are also subject to &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_66258" data-refglobal="statute:/co/statutes/37/92/305_3_a"&gt;&lt;span class="ldml-cite"&gt;section 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt;
 thus, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall be approved"&lt;/span&gt; if the water &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 determines that the proposed change will not result in
 injury.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="66468" class="ldml-sentence"&gt;Nevertheless, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held that water &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; must
 also apply the anti-speculation doctrine when reviewing an
 application for a change of water right.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="66620" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_66468"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;High
 Plains&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;120 P.3d at 720-21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;cf.&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66468" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Harvey W.
 Curtis et al., &lt;em class="ldml-emphasis"&gt;The Anti-Speculation Doctrine Extended to
 Change of Water Rights Cases: A New Dilemma for Water Rights
 Owners&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;9 U. Denv.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="66808" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66468" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Water&lt;/span&gt; &lt;span class="ldml-cite"&gt;L. Rev. 577, 594-96&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(critiquing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_66468"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High Plains&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s deviation from the
 &lt;span class="ldml-quotation quote"&gt;"straightforward, time-honored non-injury standard&lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt;
 mandated by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_66468" data-refglobal="statute:/co/statutes/37/92/305_3"&gt;&lt;span class="ldml-cite"&gt;Colorado Revised Statute 37-92-305&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="66257" data-sentence-id="66994" class="ldml-sentence"&gt;Critically, however, change applications are distinct from
 augmentation plan applications because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he essential
 function of the change proceeding is to confirm that a valid
 &lt;em class="ldml-emphasis"&gt;appropriation&lt;/em&gt; continues in effect under decree
 provisions that differ from those contained in the prior
 decree."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="67288" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_66994"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High Plains&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;120 P.3d at 719&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis
 added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="67336" class="ldml-sentence"&gt;The statutory definition of an
 &lt;span class="ldml-quotation quote"&gt;"appropriation"&lt;/span&gt; includes the requirement that an
 appropriation be non-speculative.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="67452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_67336" data-refglobal="statute:/co/statutes/37/92/103_3_a"&gt;&lt;span class="ldml-cite"&gt;§ 37-92-103&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="66257" data-sentence-id="67471" class="ldml-sentence"&gt;Augmentation plans, in contrast, neither create nor alter
 appropriative water rights.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="67558" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_67471" data-refglobal="case:concerningtheapplicationforwaterrightsinthesouthplatteriveroritstributariesinjefferson,douglas,arapahoeandparkcountiesandthecityandcountyofdenverbuffaloparkdevelopmentcompanyvmountainmutualreservoircompanyno06sa373195p3d674november3,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Buffalo Park&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;195
 P.3d at 685-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66257" data-sentence-id="67597" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do not implicate the concerns
 that animated our extension of the anti-speculation doctrine
 to change applications in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895552838" data-vids="895552838" class="ldml-reference" data-reftype="citeless" data-prop-ids="sentence_67597"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;High Plains&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="67745" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="67745" data-sentence-id="67746" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;